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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JENNIFER NOSALEK, RANDY           )
HIRSCHORN, and TRACEY HIRSCHORN,  )
individually and on behalf of all others
                                  )
similarly situated,               )
                                  )
           Plaintiffs,            )
                                  )
v.                                )
                                  )
MLS PROPERTY INFORMATION          )
NETWORK, INC.,                    )
ANYWHERE REAL ESTATE INC. (F/K/A ) No: 1:20-CV-12244-PBS
REALOGY HOLDINGS CORP.),          )
CENTURY 21 REAL ESTATE LLC,       )
COLDWELL BANKER REAL ESTATE       ) CLASS ACTION
LLC,                              )
SOTHEBY’S INTERNATIONAL REALTY )
AFFILIATES LLC,                   )
BETTER HOMES AND GARDENS REAL )
ESTATE LLC,                       )
ERA FRANCHISE SYSTEMS LLC,        )
HOMESERVICES OF AMERICA, INC.,    )
BHH AFFILIATES, LLC,              )
HSF AFFILIATES, LLC,              )
RE/MAX LLC,                       )
POLZLER & SCHNEIDER HOLDINGS      )
CORPORATION,                      )
INTEGRA ENTERPRISES CORPORATION, )
RE/MAX OF NEW ENGLAND, INC.,      )
RE/MAX INTEGRATED REGIONS, LLC    )
and KELLER WILLIAMS REALTY, INC., )

            Defendants.




      SUPPLEMENTAL DECLARATION OF SETH R. KLEIN IN SUPPORT OF
    PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT
    AGREEMENT, CONDITIONAL CERTIFICATION OF SETTLEMENT CLASS,
             APPROVAL OF SETTLEMENT NOTICE PLAN, AND
               SCHEDULING OF FINAL APPROVAL HEARING
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       I, Seth R. Klein, hereby declare as follows:

       1.      I am an attorney with the law firm of Izard Kindall & Raabe LLP (“IKR”) and am

competent to declare the matters stated herein.

       2.      My firm, along with co-counsel at Hausfeld LLP, represents Plaintiffs in this

putative class action lawsuit against MLS Property Information Network (“MLS PIN”) and

various other Defendants as set forth in the caption above. I submit this declaration in support of

Plaintiffs’ motion for preliminary approval of class action settlement with regard to Defendant

MLS PIN and related relief. 1

       3.      Attached hereto as Exhibit A is a true and accurate copy of the Amended

Settlement Agreement, including Exhibits.



DATED:         September 5, 2023


                                                      _/s/ Seth R. Klein____________________
                                                      Seth R. Klein




1
 The individual and class claims of Plaintiffs against all other Defendants in this litigation are
not resolved, are unaffected by this Settlement, and will proceed accordingly.
                                                  2
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                                 CERTIFICATE OF SERVICE


        I, Seth R. Klein, hereby certify that on this 5h day of September, 2023, the foregoing was
filed electronically. Notice of this filing will be sent by email to all parties by operation of the
court’s electronic filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access these documents though the court’s
CM/ECF system.


                                                      /s/ Seth R. Klein
                                                         Seth R. Klein




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       Exhibit A
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EXECUTION COPY
                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

JENNIFER NOSALEK, RANDY
HIRSCHORN, and TRACEY HIRSCHORN,
individually and on behalf of all others
similarly situated,

             Plaintiffs,

v.

MLS PROPERTY INFORMATION
NETWORK, INC., ANYWHERE REAL
ESTATE INC. (F/K/A REALOGY
HOLDINGS CORP.), CENTURY 21 REAL
ESTATE LLC, COLDWELL BANKER
                                           Case No. 1:20-cv-12244-PBS
REAL ESTATE LLC, SOTHEBY’S
                                           Judge Patti B. Saris
INTERNATIONAL REALTY AFFILIATES
LLC, BETTER HOMES AND GARDENS
REAL ESTATE LLC, ERA FRANCHISE
SYSTEMS LLC, HOMESERVICES OF
AMERICA, INC., BHH AFFILIATES, LLC,
HSF AFFILIATES, LLC, RE/MAX LLC,
POLZLER & SCHNEIDER HOLDINGS
CORPORATION, INTEGRA
ENTERPRISES CORPORATION, RE/MAX
OF NEW ENGLAND, INC., RE/MAX
INTEGRATED REGIONS, LLC, AND
KELLER WILLIAMS REALTY, INC.,

             Defendants.


          AMENDED STIPULATION AND SETTLEMENT AGREEMENT
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       This Amended Stipulation and Settlement Agreement (“Agreement”) is made and entered

         September 1
into on _________________, 2023 (the “Execution Date”), by and between Plaintiffs Jennifer

Nosalek, Randy Hirschorn, and Tracey Hirschorn (“Plaintiffs”), on behalf of themselves and all

Settlement Class Members and Releasing Parties as defined herein, and MLS Property Information

Network, Inc. (“MLS PIN”). The Parties intend this Agreement to fully, finally, and forever

resolve, discharge, and settle the Released Claims as defined herein, upon and subject to the terms

and conditions hereof.

1.     RECITALS

       WHEREAS, Plaintiffs have filed the above-captioned putative class action (the “Action”)

against MLS PIN; Anywhere Real Estate Inc. (f/k/a Realogy Holdings Corp.), and its wholly

owned subsidiaries, Century 21 Real Estate LLC, Coldwell Banker Real Estate LLC, Sotheby’s

International Realty Affiliates LLC, Better Homes and Gardens Real Estate LLC, and ERA

Franchise Systems LLC; HomeServices of America, Inc., and its wholly owned subsidiaries, BHH

Affiliates, LLC and HSF Affiliates, LLC; RE/MAX LLC, and its wholly owned subsidiaries,

Polzler & Schneider Holdings Corporation, Integra Enterprises Corporation, RE/MAX of New

England, Inc., and RE/MAX Integrated Regions, LLC (and any other successor entities); and

Keller Williams Realty, Inc. asserting claims for violation of Section 1 of the Sherman Act, 15

U.S.C § 1;

       WHEREAS, Plaintiffs contend that they and the Settlement Class have suffered damages,

and may in the future suffer additional damages, as a result of MLS PIN’s (and the other

Defendants’) alleged conduct;

       WHEREAS, MLS PIN denies Plaintiffs’ allegations and maintains that it has meritorious

defenses to the claims of liability and damages made by Plaintiffs in the Action and all charges of



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liability and damages against it arising out of any of the conduct, statements, acts, or omissions

alleged, or that could have been alleged, in the Action;

       WHEREAS, Plaintiffs’ Counsel has significant experience litigating class action cases,

having represented plaintiffs in numerous putative class actions brought in this District and

elsewhere;

       WHEREAS, Plaintiffs’ Counsel have concluded, after due investigation and after carefully

considering the relevant circumstances, including, without limitation, the claims asserted in the

Action, the legal and factual defenses thereto, and the applicable law, that: (1) it is in the best

interests of the Settlement Class to enter into this Agreement in order to avoid the uncertain

outcome and attendant risks of litigation and to assure that the substantial benefits reflected herein,

including the value of the settlement relief MLS PIN will provide under this Agreement and the

cooperation MLS PIN will provide to the Plaintiffs under this Agreement, are obtained for the

Settlement Class; and (2) the settlement set forth in this Agreement is fair, reasonable, and

adequate and in the best interests of the Settlement Class;

       WHEREAS, MLS PIN, while continuing to deny that it is liable for the claims asserted

against it in the Action, has nevertheless agreed to enter into this Agreement to avoid the further

risk, expense, inconvenience, and distraction of burdensome and protracted litigation, and thereby

to resolve this controversy, to avoid the risks inherent in complex litigation, and to obtain complete

dismissal of the Action as to MLS PIN and a release of the claims as set forth herein;

       WHEREAS, Plaintiffs, for themselves individually and on behalf of the Settlement Class,

and MLS PIN agree that neither this Agreement nor any statement made in negotiation thereof

shall be deemed or construed to be an admission or evidence of any violation of any statute, law,




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or regulation or of any liability or wrongdoing by MLS PIN or of the truth of any of the claims or

allegations alleged in the Action;

         WHEREAS, this Agreement is the product of arm’s-length negotiations between Plaintiffs’

Counsel and MLS PIN’s Counsel, and this Agreement embodies all of the terms and conditions of

the settlement agreed upon between the Parties, both for themselves individually and on behalf of

the Settlement Class;

         NOW, THEREFORE, in consideration of the covenants, terms, and releases in this

Agreement, it is agreed, by and among Plaintiffs (individually and on behalf of the Settlement

Class) and MLS PIN that, subject to the approval of the Court, the Action shall be settled,

compromised, and dismissed with prejudice as to MLS PIN and the other Released Parties only,

without costs, except as stated herein, and releases be extended, as set forth in this Agreement.

2.       DEFINITIONS

         As used in this Agreement, the following capitalized terms have the meanings specified

below:

         (a)    Action: Nosalek, et al. v. MLS Property Information Network, Inc., et al., Case No.

1:20-cv-12244-PBS, pending in the United States District Court for the District of Massachusetts.

         (b)    Agreement or Settlement Agreement: This Amended Settlement Agreement and all

of the attached exhibits.

         (c)    Alternative Judgment: A Final Judgment and Order of Dismissal entered by the

Court but in a form that materially differs from the one proposed by the Parties.

         (d)    Buyer-Broker Commission: A commission paid by a Seller or Seller-Broker to a

Buyer-Broker pursuant to the Buyer-Broker Commission Rule.




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       (e)      Buyer-Broker: A real estate broker who or which procures a buyer of Residential

Real Estate and is offered and/or paid a Buyer-Broker Commission with regard to a Listing

pursuant to the Buyer-Broker Commission Rule.

       (f)      Buyer-Broker Commission Rule: The practice of the Seller-Broker offering Buyer-

Brokers a Buyer-Broker Commission in connection with a Listing and any action required or taken

pursuant to Section 5.0 of the Rules and Regulations.

       (g)      Class Notice: The notice of proposed settlement to be provided to the Settlement

Class as provided in this Agreement and the Preliminary Approval Order.

       (h)      Court: The United States District Court for the District of Massachusetts.

       (i)      Defendants: MLS Property Information Network, Inc.; Anywhere Real Estate Inc.

(f/k/a Realogy Holdings Corp.), and its wholly owned subsidiaries, Century 21 Real Estate LLC,

Coldwell Banker Real Estate LLC, Sotheby’s International Realty Affiliates LLC, Better Homes

and Gardens Real Estate LLC, and ERA Franchise Systems LLC; HomeServices of America, Inc.,

and its wholly owned subsidiaries, BHH Affiliates, LLC and HSF Affiliates, LLC; RE/MAX LLC,

and its wholly owned subsidiaries, Polzler & Schneider Holdings Corporation, Integra Enterprises

Corporation, RE/MAX of New England, Inc., and RE/MAX Integrated Regions, LLC; and Keller

Williams Realty, Inc.

       (j)      Effective Date: See Paragraph 6.

       (k)                      September 1
                Execution Date: _________________, 2023.

       (l)      Fairness Hearing: The hearing(s) to be held by the Court to determine whether the

settlement set forth in this Agreement shall receive final approval pursuant to Federal Rule of Civil

Procedure 23.

       (m)      Fee and Expense Application: See Paragraph 11.



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       (n)     Fee and Expense Award: Any amounts the Court may order that Plaintiffs’ Counsel

shall receive from the Settlement Fund pursuant to a Fee and Expense Application.

       (o)     Final Judgment and Order of Dismissal: The order of the Court, substantially in the

form attached hereto as Exhibit 2, finally approving the settlement set forth in this Agreement and

dismissing the Action against MLS PIN with prejudice.

       (p)     Listing: Residential Real Estate for which all necessary data, information and

images have been inputted into Pinergy.

       (q)     MLS PIN: MLS Property Information Network, Inc., and its predecessors and

successors.

       (r)     MLS PIN’s Counsel: Brennan, Recupero, Cascione, Scungio & McAllister, LLP,

and Locke Lord LLP.

       (s)     Notice Administrator: A third party that may be retained to manage and administer

the process by which the Class will be notified of this Agreement.

       (t)     Parties: Plaintiffs and MLS PIN.

       (u)     Person(s): An individual, corporation, limited liability corporation, professional

corporation, limited liability partnership, partnership, limited partnership, association, joint stock

company, estate, legal representative, trust, unincorporated association, municipality, state, state

agency, any entity that is a creature of any state, any government or any political subdivision,

authority, office, bureau or agency of any government, and any business or legal entity, and any

spouses, heirs, predecessors, successors, representatives, agents, or assignees of the foregoing.

       (v)     Pinergy: The electronic multiple-listing service application or its predecessors

owned and operated by MLS PIN.




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       (w)     Plaintiffs (and each a Plaintiff): Jennifer Nosalek, Randy Hirschorn, and Tracey

Hirschorn.

       (x)     Plaintiffs’ Counsel: Izard, Kindall & Raabe LLP and Hausfeld LLP.

       (y)     Preliminary Approval Order: An order of the Court, substantially in the form

attached hereto as Exhibit 1, that preliminarily approves the settlement set forth in this Agreement

and directs Class Notice thereof.

       (z)     Released Claims: Any and all manner of claims, causes of action, cross-claims,

counter-claims, charges, liabilities, demands, judgments, suits, obligations, debts, setoffs, rights of

recovery, or liabilities for any obligations of any kind whatsoever (however denominated), whether

class or individual, in law or equity or arising under constitution, statute, regulation, ordinance,

contract, or otherwise in nature, for fees, costs, penalties, fines, debts, expenses, attorneys’ fees,

damages, and liabilities of any nature whatsoever (including joint and several), known or

unknown, suspected or unsuspected, asserted or unasserted, arising from or relating in any way to

any conduct alleged or that could have been alleged in and that arise from the factual predicate of

the Action.

       (aa)    Released Party or Released Parties: MLS PIN and each of its past or present direct

and indirect parents (including holding companies), subsidiaries, affiliates, associates (all as

defined in SEC Rule 12b-2 promulgated pursuant to the Securities Exchange Act of 1934),

predecessors, successors, shareholders (except those who are Defendants in the Action), and each

of their respective officers, directors, employees, agents, attorneys, legal or other representatives,

trustees, heirs, executors, administrators, advisors, and assigns. Released Parties do not include the

other Defendants in the Action.




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       (bb)    Releasing Party or Releasing Parties: Individually and collectively, Plaintiffs and

each Settlement Class Member, on behalf of themselves and, to the extent permitted by law, any

of their respective past or present officers, directors, shareholders, agents, employees, legal

representatives, partners, associates, trustees, beneficiaries, beneficial owners, parents,

subsidiaries, divisions, affiliates, heirs, executors, administrators, purchasers, predecessors,

successors, and assigns, whether or not they object to the settlement set forth in this Agreement.

       (cc)    Residential Real Estate: Any residential property sold by a Seller.

       (dd)    Rules and Regulations: The Rules and Regulations adopted by MLS PIN from time

to time.

       (ee)    Seller: Any Person who has listed on Pinergy through a Seller-Broker and sold

Residential Real Estate.

       (ff)    Seller-Broker: A real estate broker who lists a property on Pinergy on behalf of a

Seller and offers a Buyer-Broker Commission.

       (gg)    Settlement Class or Class: See Paragraph 3(a).

       (hh)    Settlement Class Member: A Person who is a member of the Settlement Class

       (ii)    Settlement Class Period: December 17, 2016, through and including the date of the

Final Judgment and Order of Dismissal.

       (jj)    Settlement Fund: See Paragraph 9(c).

       (kk)    Settling Defendant: MLS PIN.

       (ll)    Settling Defendant’s Claims: Claims, including “Unknown Claims” as defined

below, that any Released Party may have against a Releasing Party or Plaintiffs’ Counsel solely

relating to the institution, prosecution, or settlement of the Action, except for claims to enforce

any of the terms of this Agreement.



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       (mm) Unknown Claims: Any and all Released Claims against the Released Parties which

Releasing Parties do not know or suspect to exist in his, her, or its favor as of the Effective Date,

and the Settling Defendant’s Claims against Releasing Parties which Released Parties do not know

or suspect to exist in his, her, or its favor as of the Effective Date, which if known by the Releasing

Parties or Released Parties might have affected his, her, or its decision(s) with respect to the

settlement. With respect to any and all Released Claims and Settling Defendant’s Claims, the

Parties stipulate and agree that by operation of the Final Judgment and Order of Dismissal, upon

the Effective Date, Releasing Parties and Released Parties shall have expressly waived, and each

Settlement Class Member shall be deemed to have waived, and by operation of the Final Judgment

and Order of Dismissal shall have expressly waived, the provisions, rights and benefits of

California Civil Code § 1542, which provides as follows:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
               WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
               EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
               THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
               HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
               WITH THE DEBTOR.

and any and all provisions, rights and benefits conferred by any law of any state or territory of the

United States, or principle of common law, which is similar, comparable, or equivalent to

California Civil Code § 1542.

       The Releasing Parties and Released Parties may hereafter discover facts other than or

different from those which they now know or believe to be true with respect to the subject matter

of the Released Claims and Settling Defendant’s Claims. Nevertheless, Plaintiffs and the Released

Parties shall expressly, fully, finally, and forever settle and release, and each Settlement Class

Member, upon the Effective Date, shall be deemed to have, and by operation of the Final Judgment

and Order of Dismissal shall have, fully, finally, and forever settled and released, any and all


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Released Claims and Settling Defendant’s Claims, whether or not concealed or hidden, without

regard to the subsequent discovery or existence of such different or additional facts. Plaintiffs and

the Released Parties acknowledge, and Settlement Class Members shall be deemed to have

acknowledged, that the inclusion of “Unknown Claims” in the definition of Released Claims and

Settling Defendant’s Claims was separately bargained for and was a key element of the Agreement.

3.     SETTLEMENT CLASS CERTIFICATION

       (a)     The Parties hereby stipulate for purposes of settlement only that the requirements

of Federal Rule of Civil Procedure 23(a) and 23(b)(2) are satisfied, and, subject to Court approval,

the following settlement class shall be certified as to claims against MLS PIN only (the “Settlement

Class” or “Class”):

               Sellers who paid, and/or on whose behalf sellers’ brokers paid,
               Buyer-Broker Commissions during the Settlement Class Period in
               connection with the sale of Residential Real Estate listed on Pinergy.

       (b)     Specifically excluded from the Settlement Class are Defendants; Released Parties;

co-conspirators; the officers, directors, or employees of any Defendant, Released Party, or co-

conspirator; any entity in which any Defendant, Released Party, or co-conspirator has a controlling

interest; any affiliate, legal representative, heir, or assign of any Defendant, Released Party, or co-

conspirator and any Person acting on their behalf. Also excluded from the Settlement Class are

any judicial officers presiding over this action and the members of his/her immediate families and

judicial staff, and any juror assigned to the Action.

       (c)     The Parties’ agreement as to certification of the Settlement Class is only for

purposes of effectuating a settlement and for no other purpose. MLS PIN retains all of its

objections, arguments, and defenses with respect to class certification, and reserves all rights to

contest class certification, if Court does not enter the Final Judgment and Order of Dismissal, if

the Court’s approval is reversed or vacated on appeal, if this Agreement is terminated as provided

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herein, or if the settlement set forth in this Agreement otherwise fails to become effective. The

Parties acknowledge that there has been no stipulation to any Class or certification of any Class

for any purpose other than effectuating the settlement, and that if the settlement set forth in this

Agreement does not receive the Court’s final approval, if the Court’s approval is reversed or

vacated on appeal, if this Agreement is terminated as provided herein, or if the settlement set forth

in this Agreement otherwise fails to become effective, this agreement as to certification of the

Class becomes null and void ab initio. This Agreement or any other settlement-related statement

may not be cited regarding certification of the Class, or in support of an argument for certifying a

class for any purpose related to this Action.

4.     GOOD FAITH EFFORTS TO EFFECTUATE THIS SETTLEMENT
       AGREEMENT

       The Parties agree to cooperate with one another in good faith to effectuate and implement

the terms and conditions of this Agreement and to exercise their reasonable best efforts to

accomplish the terms of this Agreement. This includes MLS PIN serving notice on those persons

and entities required to receive notice pursuant to 28 U.S.C. § 1715.

5.     PRELIMINARY APPROVAL ORDER, NOTICE, AND FAIRNESS HEARING

       (a)     Plaintiffs’ Counsel shall share drafts of the motion for preliminary approval and

any related submissions with MLS PIN’s Counsel at least five (5) days before the anticipated filing

date in order to give MLS PIN a reasonable opportunity to comment. This motion shall:

               (i)     Seek certification of the Settlement Class for purposes of settlement only,

                       pursuant to Federal Rule of Civil Procedure 23(a) and 23(b)(2);

               (ii)    Request preliminary approval of the settlement set forth in this Agreement

                       as fair, reasonable, and adequate within the meaning of Federal Rule of

                       Civil Procedure 23;


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                (iii)   Seek the appointment of the Plaintiffs as representatives of the Settlement

                        Class under Federal Rule of Civil Procedure 23;

                (iv)    Seek appointment of Plaintiffs’ Counsel as interim counsel for the

                        Settlement Class under Federal Rule of Civil Procedure 23(g);

                (v)     If practicable at the time the motion is filed or otherwise at a later time, seek

                        approval of the form and method of dissemination of the Class Notice,

                        which may be published based upon the recommendations of the Notice

                        Administrator. The Notice Administrator will establish and maintain a

                        website, from which each member of the Class can view and download

                        relevant documents;

                (vi)    Stay all proceedings in the Action against MLS PIN until the Court renders

                        a final decision on approval of the settlement set forth in this Agreement;

                        and

                (vii)   Attach a proposed order in the form of Exhibit 1 hereto, which shall include

                        such provisions as are typical in such orders, including (1) a finding that the

                        proposed plan of notice complies with Federal Rule of Civil Procedure 23

                        and the requirements of due process, and (2) a provision that, if final

                        approval of the settlement is not obtained, the settlement is null and void,

                        and the Parties will revert to their positions ex ante without prejudice to

                        their rights, claims, or defenses.

        (b)     The Class Notice shall apprise each member of the Settlement Class of his, her or

its right to object to the settlement.




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       (c)     Any Person who objects to the settlement set forth in this Agreement may appear

in person or through counsel, at that Person’s own expense, at the Fairness Hearing to present any

evidence or argument that the Court deems proper and relevant. However, no such Person shall be

heard, and no papers, briefs, pleadings, or other documents submitted by any such Person shall be

received and considered by the Court, unless such Person properly submits a written objection that

includes all of the following:

               (i)     The Person’s full name, address, telephone number, and e-mail address (if

                       any);

               (ii)    A notice of intention to personally appear and/or testify at the Final Hearing;

               (iii)   Proof of membership in the Settlement Class; and

               (iv)    The specific grounds for the objection and any reasons why such Person

                       desires to appear and be heard, as well as all documents or writings that

                       such Person desires the Court to consider.

       (d)     Such a written objection must be both filed with the Clerk of the Court no later than

twenty-eight (28) days prior to the date set for the Fairness Hearing and mailed to Plaintiffs’

Counsel and MLS PIN’s Counsel at the addresses provided in the Class Notice and postmarked no

later than twenty-eight (28) days prior to the date set for the Fairness Hearing. Any Person that

fails to object in the manner prescribed herein shall be deemed to have waived his or her objections

and will forever be barred from making any such objections in the Action, unless otherwise

excused for good cause shown, as determined by the Court.

       (e)     If the Preliminary Approval Order is entered by the Court, Class Plaintiffs shall

seek, and MLS PIN shall not oppose, entry of a Final Judgment and Order of Dismissal of MLS

PIN from the Action. Plaintiffs’ Counsel shall share drafts of the proposed motion for final



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approval and Final Judgment and Order of Dismissal of MLS PIN from the Action with MLS

PIN’s Counsel at least seven (7) days before the anticipated filing date in order to give MLS PIN

a reasonable opportunity to comment. Subject to the approval of the Court, the proposed Final

Judgment and Order of Dismissal of MLS PIN from the Action shall be in the form of Exhibit 2

hereto and shall meet all of the following criteria (in addition to any additional criteria specified

elsewhere in this Agreement):

               (i)     Certifies the Class pursuant to Federal Rule of Civil Procedure 23(a) and

                       23(b)(2) solely for the purpose of the settlement;

               (ii)    Approves finally the settlement set forth in this Agreement and its terms as

                       being a fair, reasonable, and adequate settlement as to the Class within the

                       meaning of Federal Rule of Civil Procedure 23 and directs its

                       consummation according to its terms;

               (iii)   Finds that the Class Notice constituted due, adequate, and sufficient notice

                       of the settlement set forth in this Agreement and the Fairness Hearing and

                       meets the requirements of due process and the Federal Rules of Civil

                       Procedure;

               (iv)    Directs that, as to the Released Parties, MLS PIN shall be dismissed from

                       the Action with prejudice and, except as provided for in this Agreement,

                       without costs; provided, however, that such dismissal shall not affect, in any

                       way, the right of Class Plaintiffs or Settlement Class Members to pursue

                       claims, if any, outside the scope of the Released Claims;




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               (v)      Orders that the Releasing Parties are permanently enjoined and barred from

                        instituting, commencing, or prosecuting any action or other proceeding

                        asserting any Released Claims against any Released Party;

               (vi)     Retains with the Court exclusive jurisdiction over the settlement and this

                        Agreement, including the administration, consummation and enforcement

                        of the settlement and any future claim by Plaintiffs that MLS PIN has

                        reinstituted the Buyer-Broker Commission Rule in violation of Paragraph 9

                        below;

               (vii)    Orders that, to the extent not prohibited by law, all claims by any Person

                        against the Released Parties for contribution or indemnification (however

                        denominated) for all or a portion of any amounts paid or awarded in the

                        Action by way of settlement, judgment, or otherwise, shall be barred; and

               (viii)   Determines under Federal Rule of Civil Procedure 54(b) that there is no just

                        reason for delay and directs that the Final Judgment and Order of Dismissal

                        as to MLS PIN shall be final and entered forthwith.

6.     EFFECTIVE DATE OF THE SETTLEMENT

       (a)     The Effective Date shall be the date when all of the following events shall have

occurred and shall be contingent on the occurrence of all of the following events:

               (i)      Entry by the Court of the Preliminary Approval Order;

               (ii)     Final approval by the Court of the settlement set forth in this Agreement,

                        following Class Notice and the Fairness Hearing;

               (iii)    No Party having exercised his, her, or its rights to terminate this Agreement;

                        and



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                (iv)    Entry by the Court of a Final Judgment and Order of Dismissal, and the

                        Final Judgment and Order of Dismissal becoming final, or, in the event that

                        the Court enters an Alternative Judgment and neither Class Plaintiffs nor

                        MLS PIN elects to terminate this Agreement, such Alternative Judgment

                        becoming final. Neither the provisions of Federal Rule 60 nor the All Writs

                        Act, 28 U.S.C. § 1651, shall be taken into account in determining the above-

                        stated times.

        (b)     Notwithstanding any other provision herein, any proceeding or order, or motion for

reconsideration, appeal, petition for a writ of certiorari or its equivalent, pertaining solely to any

Fee and Expense Application, shall not in any way delay or preclude the Effective Date, except

that no Fee and Expense Award shall be payable from the Settlement Fund until such proceeding

or order, or motion for reconsideration, appeal, petition for a writ of certiorari or its equivalent, is

adjudicated and becomes final.

7.      NOTICE ADMINISTRATOR AND COST OF NOTICE

        Pursuant to the Preliminary Approval Order and subject to Court approval, Plaintiffs will

engage Kroll Settlement Administration LLC (“Kroll”) to effectuate the notice plan approved by

the Court in the Preliminary Approval Order. MLS PIN shall provide Kroll with the sold-property

address(es) associated with each Class Member as available to MLS PIN within ten (10) days of

the Preliminary Approval Order. Kroll shall bill MLS PIN for, and MLS PIN shall pay, Kroll’s

notice and administration fees, costs and expenses. All amounts paid by MLS PIN to Kroll in

satisfaction of Kroll’s notice and administration fees, costs and expenses in this Action shall reduce

by an equal amount the total funds payable into the Settlement Fund as set forth in paragraph 9

below, such that in no event shall MLS PIN’s total combined obligation to Kroll and the Settlement

Fund, whether pursuant to any order of the Court concerning any Fee and Expense Application or

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for the benefit of the Settlement Class, or for any other reason, be in excess of three million dollars

($3,000,000).

8.     SCOPE AND EFFECT OF SETTLEMENT

       (a)      The obligations incurred pursuant to this Agreement shall be in full and final

disposition of the following:

                (i)     The Action against MLS PIN; and

                (ii)    Any and all Released Claims as against all Released Parties; and

                (iii)   Any and all Settling Defendant’s Claims as against all Releasing Parties.

       (b)      Upon the Effective Date, each of the Releasing Parties:

                (i)     Shall be deemed to have, and by operation of the Final Judgment and Order

                        of Dismissal, shall have, fully, finally, and forever waived, released,

                        relinquished, and discharged all Released Claims against each of the

                        Released Parties, regardless of whether such Releasing Party executes and

                        delivers a proof of claim;

                (ii)    Shall forever be enjoined from prosecuting in any forum any Released

                        Claim against any of the Released Parties; and

                (iii)   Agrees and covenants not to sue any of the Released Parties on the basis of

                        any Released Claims or to assist any third party in commencing or

                        maintaining any suit against any Released Party related in any way to any

                        Released Claims.

                However, notwithstanding the provisions in Paragraph 8(b)(i), (ii) and (iii) above,

                Plaintiffs shall retain the right to petition the Court for specific performance of this

                Agreement should MLS PIN at any time materially reinstate the Buyer-Broker

                Commission Rule in violation of Paragraph 9 below.

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       (c)     Upon the Effective Date, each of the Released Parties:

               (i)     Shall be deemed to have, and by operation of the Final Judgment and Order

                       of Dismissal shall have, fully, finally, and forever released and discharged

                       Plaintiffs, Plaintiffs’ Counsel, and each and all Settlement Class Members

                       from each and every one of the Settling Defendant’s Claims;

               (ii)    Shall forever be enjoined from prosecuting the Settling Defendant’s Claims;

                       and

               (iii)   Agrees and covenants not to sue on the basis of the Settling Defendant’s

                       Claims, or to assist any third party in commencing or maintaining any such

                       suit related to the Settling Defendant’s Claims.

       (d)     The releases provided in this Agreement shall become effective immediately upon

occurrence of the Effective Date without the need for any further action, notice, condition, or event.

       (e)     As an express and material condition of this Agreement, the Court shall enter an

order, in the Final Judgment and Order of Dismissal, barring, to the extent permitted by law, claims

by or against the Released Parties for contribution or indemnification (however denominated) for

all or a portion of any amounts paid or awarded in the Action by way of settlement, judgment, or

otherwise by or against any of the following:

               (i)     Any of the other Defendants currently named in the Action;

               (ii)    Any other Person formerly named as a party in the Action; or

               (iii)   Any other Person subsequently added or joined as a party in the Action.

       (f)     In the event that this Agreement is terminated pursuant to Paragraph 12, or any

condition for the final approval of this Agreement is not satisfied, the release and covenant not to

sue provisions of the foregoing paragraphs shall be null and void and unenforceable.



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9.     CONSIDERATION TO SETTLEMENT CLASS

       (a)     Subject to the conditions set forth herein, including without limitation Paragraph

9(b) below, MLS PIN agrees that, commencing no later than one hundred eighty (180) days after

the Effective Date of Settlement, and continuing for a period of three (3) years thereafter, MLS

PIN will adopt and implement as part of its Rules and Regulations the amendments to the Rules

and Regulations attached hereto as Exhibit 3a in redline form and Exhibit 3b in clean form. After

the expiration of said three (3) year period, MLS PIN may, at its sole discretion, alter or amend

the specific language adopted and implemented pursuant to this Agreement; provided, however,

that MLS PIN will not at any time before or following the expiration of the three (3) year period

adopt any language, or otherwise promulgate any policy, that materially (re)instates the Buyer-

Broker Commission Rule that is the subject of this Agreement.

       (b)     Should any provision of Paragraph 9(a) above conflict or be inconsistent with: (i)

any existing or subsequently adopted, promulgated or issued state or federal statute, regulation,

rule, or order (collectively a “Legal Requirement”); or (ii) any existing or future formal or informal

regulatory directive, requirement, instruction, guidance, order, decree, settlement, or compromise

agreement, whether of general application or directed at or applicable to any one or more of the

Defendants (collectively a “Regulatory Requirement”), such Legal Requirement or Regulatory

Requirement shall control. In that event, the Agreement and the Final Judgment and Order of

Dismissal of MLS PIN from the Action shall be deemed amended to conform to such Legal

Requirement or Regulatory Requirement. MLS PIN shall not be liable for engaging in any practice

or failing to engage in any practice during the three (3) year period for prospective relief where

such conduct was authorized, permitted, or required by a Legal Requirement or Regulatory

Requirement.



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       (c)     Within seven (7) days after entry of the Final Judgment and Order of Dismissal,

MLS PIN shall deposit the Settlement Fund into a segregated Trust Account maintained by Izard

Kindall & Raabe LLP. The Settlement Fund shall not be comingled with any other funds held in

trust by Izard Kindall & Raabe LLP. The Settlement Fund shall be in the amount of three million

dollars ($3,000,000.00), minus any amounts paid to Kroll pursuant to paragraph 7 above. The

Settlement Fund shall be used to pay outstanding settlement administration and notice costs and

expenses and to pay any Fee and Expense Award by the Court pursuant to any Fee and Expense

Application filed by Plaintiffs pursuant to paragraph 11. The balance of the Settlement Fund shall

be held in an interest-bearing United States government money market fund until the conclusion

of the litigation against all Defendants, at which time Plaintiffs shall file a motion with the Court

seeking an appropriate disposition of the balance of the Settlement Fund. In no event shall MLS

PIN be obligated to pay or reimburse any amounts in excess of three million dollars ($3,000,000).

       (d)     If for any reason the Effective Date does not (and cannot) occur, the Settlement

Fund held in a segregated Trust Account of Izard Kindall & Raabe LLP, including the interest

accumulated, but not including any amounts paid to Kroll for settlement and notice costs and

expenses, shall be returned to MLS PIN within five (5) days after the occurrence of the condition

or event that irrevocably prevents occurrence of the Effective Date.

10.    COOPERATION

       (a)     In further consideration for the dismissal of Plaintiffs’ and the Settlement Class

Members’ claims against MLS PIN in the Action and the release of the Released Claims, subject

to any order from the Court, MLS PIN shall provide cooperation as set forth below.

       (b)     All cooperation shall be coordinated in such a manner so that all unnecessary

duplication and expense is avoided. MLS PIN’s cooperation obligations shall apply only to

Releasing Parties who act with, by or through Plaintiffs’ Counsel pursuant to this Agreement,

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including but not limited to Plaintiffs’ good faith efforts to utilize documents and data already

produced by MLS PIN to reduce the burdens of cooperation when practicable. MLS PIN’s

cooperation obligations shall in all events be limited to facts and events involving the conduct

alleged in the Action.

       (c)     Nothing in this Agreement shall impose on MLS PIN an obligation to produce or

provide any materials or information protected from disclosure by the work-product doctrine, the

attorney-client privilege, the common interest privilege, the joint defense privilege, obligations

under applicable data privacy or bank secrecy laws or regulations, and/or any other applicable

privilege or protection with respect to any documents, deposition testimony, and/or other

information requested under this Agreement.

       (d)     Any documents, deposition testimony, and/or other information provided to Class

Plaintiffs pursuant to this provision shall be covered by the protective order in effect in the Action,

or, if no protective order is in effect, shall be maintained as confidential and available only to

Plaintiffs’ Counsel and MLS PIN’s Counsel or corporate counsel.

       (e)     None of the cooperation provisions are intended to, nor do they, waive any

applicable privilege or protection.

       (f)     The information provided pursuant to this Agreement may be utilized by Plaintiffs

or Plaintiffs’ Counsel solely to assist in the prosecution of the Action and for no other purpose.

       (g)     Subject to the foregoing, MLS PIN will provide Plaintiffs and the Settlement Class

the following cooperation. Nothing herein is intended to prevent the use in pre-trial, trial, or

appellate proceedings in this Action of information and/or documents produced in discovery or

through the cooperation provisions set forth below:




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     (i)    Preliminary Approval: MLS PIN shall cooperate to the extent reasonably

            necessary in connection with Plaintiffs’ Counsel’s preparation of the motion

            for preliminary approval and any related documents necessary to effectuate

            and implement the terms and conditions of this Agreement.

     (ii)   Written Discovery Seeking Documents:

            a.     Plaintiffs may obtain document discovery from MLS PIN, as

                   provided for under the Federal Rules of Civil Procedure. Such

                   discovery shall be served on MLS PIN’s Counsel via email. Except

                   as further provided herein, such discovery shall be limited to

                   reasonable requests for production of documents pursuant to Federal

                   Rule of Civil Procedure 34. Such discovery shall not include any

                   requests for admissions. MLS PIN reserves all rights to object to

                   any document discovery Plaintiffs may serve hereunder, which

                   rights MLS PIN reserves to the fullest extent allowable under

                   applicable law. Plaintiffs further agree that MLS PIN’s good-faith

                   assertion of any objections to such discovery, or good-faith refusal

                   to produce any requested documents, will not constitute a breach of

                   this Agreement, but will be addressed pursuant to the Federal Rules

                   of Civil Procedure.

            b.     As applicable and upon written request, MLS PIN shall provide a

                   business record or authenticity declaration as to any documents

                   produced by MLS PIN pursuant to this Agreement or any other

                   process.



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     (iii)   Written Interrogatories:

             a.    Plaintiffs may obtain discovery by interrogatory from MLS PIN, as

                   provided for under the Federal Rules of Civil Procedure. Such

                   discovery shall be served on MLS PIN’s Counsel via email.

                   Plaintiffs shall be limited to fifteen (15) interrogatories. MLS PIN

                   reserves all rights to object to any written interrogatory discovery

                   Plaintiffs may serve hereunder, which rights MLS PIN reserves to

                   the fullest extent allowable under applicable law. Plaintiffs further

                   agree that MLS PIN’s good-faith assertion of any objections to such

                   discovery, or good-faith refusal to produce any requested

                   documents, will not constitute a breach of this Agreement, but will

                   be addressed pursuant to the Federal Rules of Civil Procedure

     (iv)    Depositions:

             a.    MLS PIN shall use its reasonable best efforts to make available for

                   deposition during fact discovery in the Action up to two (2) specific

                   current or former MLS PIN employees reasonably requested by

                   Plaintiffs’ Counsel and one (1) deposition pursuant to Fed. R. Civ.

                   P. 30(b)(6), as soon as reasonably appropriate after the request.

             b.    MLS PIN shall use good faith efforts to assist Plaintiffs’ Counsel in

                   arranging reasonably requested depositions with former MLS PIN

                   employees. For the avoidance of doubt (i) it shall not be a breach of

                   this Agreement by MLS PIN if any current employee reasonably

                   refuses to sit for a deposition of his or her own volition; and (ii) if



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                             so requested by Plaintiffs’ Counsel, MLS PIN shall waive and

                             provide written waivers of any non-disclosure or confidentiality

                             obligations owed to MLS PIN that may otherwise be argued to

                             preclude current or former employees from cooperating with

                             Plaintiffs’ Counsel in their litigation of the Action provided that the

                             testimony and information provided by such current or former

                             employees is subject to the Court’s confidentiality order in the

                             Action.

              (iv)    Continuation, Scope, and Termination of Obligations: MLS PIN’s

                      obligations to cooperate under the Agreement are continuing until and shall

                      terminate upon the earlier of: (1) the date when final judgment has been

                      rendered, with no remaining rights of appeal, in the Action against all

                      Defendants; or (2) the close of fact discovery in the Action.

11.    FEE AND EXPENSE APPLICATION

       In accordance with Federal Rule of Civil Procedure 23(h), Plaintiffs’ Counsel may submit

an application or applications (“Fee and Expense Application”) to the Court for an award of

attorneys’ fees and expenses. The Fee and Expense Application shall seek no more than nine

hundred thousand dollars ($900,000.00) from the Settlement Fund as attorneys’ fees, plus,

separately, reimbursement of expenses actually incurred as of the date of the Fee and Expense

Application, all to be paid out of the Settlement Fund. MLS PIN shall have no obligation to fund

any award by the Court pursuant to the Fee and Expense Application beyond MLS PIN’s

obligation to fund the Settlement Fund as set forth in paragraph 7 above. Subject to paragraph 7,

MLS PIN will take no position with regard to a Fee and Expense Application as set forth in this

paragraph.

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12.      TERMINATION OF THE SETTLEMENT

         (a)   Class Plaintiffs, through Plaintiffs’ Counsel, and MLS PIN, through MLS PIN’s

Counsel, shall, in each of their separate discretions, have the right to terminate the settlement set

forth in this Agreement by providing written notice of their election to do so (“Termination

Notice”) to all other Parties hereto within thirty (30) days of the date on which any of the following

occur:

               (i)     The Court enters an order declining to enter the Preliminary Approval Order

                       in any material respect adverse to the terminating party;

               (ii)    The Court enters an order refusing to approve this Agreement or any

                       material part of it adverse to the terminating party;

               (iii)   The Court enters an order declining to enter the Final Judgment and Order

                       of Dismissal in any material respect adverse to the terminating party;

               (iv)    The Court enters an Alternative Judgment that is in any material respect

                       adverse to the terminating party;

               (v)     The Final Judgment and Order of Dismissal of MLS PIN from the Action

                       is modified or reversed by a court of appeal or any higher court in any

                       material respect adverse to the terminating party; or

               (vi)    An Alternative Judgment is modified or reversed by a court of appeal or any

                       higher court in any material respect adverse to the terminating party.

         (b)   Notwithstanding Paragraph 12(a) above, the Court’s determination as to the Fee

and Expense Application or the amount or other terms of any Fee and Expense Award shall not

provide grounds for termination of this Agreement or settlement.

         (c)   Except as otherwise expressly provided herein, in the event the settlement is

terminated in accordance herewith, is vacated, is not approved, or the Effective Date fails to occur

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for any reason, then the Parties to this Agreement shall be restored to their respective statuses in

the Action as of the Execution Date without prejudice to any of MLS PIN’s defenses, and, except

as otherwise expressly provided herein, the Parties shall proceed in all respects as if this Agreement

and any related orders had not been entered.

13.    MISCELLANEOUS

       (a)     The Parties to this Agreement intend the settlement to be a final and complete

resolution of all disputes asserted or which could be asserted by Plaintiffs and/or any Settlement

Class Member against the Released Parties with respect to MLS PIN and the Released Claims.

Accordingly, Plaintiffs and MLS PIN agree not to assert in any judicial proceeding that the Action

was brought by Plaintiffs or defended by MLS PIN in bad faith or without a reasonable basis. The

Parties further agree not to assert in any judicial proceeding that any Party violated Federal Rule

of Civil Procedure 11. The Parties agree that the amounts paid and the other terms of the settlement

were negotiated at arm’s length in good faith by the Parties and reflect a settlement that was

reached voluntarily after consultation with experienced legal counsel.

       (b)     The headings herein are used for the purpose of convenience only and are not meant

to have legal effect.

       (c)     The administration and consummation of the settlement as embodied in this

Agreement shall be under the authority of the Court, and the Court shall retain jurisdiction for the

purpose of entering orders relating to the Fee and Expense Application and enforcing the terms of

this Agreement. Notwithstanding the foregoing, nothing in this Paragraph shall be deemed an

admission or waiver by MLS PIN of any defense or objection other than for matters pertaining to

this Agreement.




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       (d)     For the purpose of construing or interpreting this Agreement, Plaintiffs and MLS

PIN agree that it is to be deemed to have been drafted equally by all Parties hereto and shall not

be construed strictly for or against any Party.

       (e)     This Agreement shall constitute the entire agreement between Plaintiffs and MLS

PIN pertaining to the settlement of the Action and supersedes any and all prior and

contemporaneous undertakings of Plaintiffs and MLS PIN in connection therewith. All terms of

this Agreement are contractual and not mere recitals. The terms of this Agreement are and shall be

binding upon each of the Parties hereto, their heirs, executors, administrators, representatives,

agents, attorneys, partners, successors, predecessors-in-interest, and assigns, and upon all other

Persons claiming any interest in the subject matter hereto through any of the Parties hereto

including any Settlement Class Members.

       (f)     This Agreement may be modified or amended, except as otherwise expressly

provided herein, only by a writing executed by Plaintiffs and MLS PIN subject (if after entry of

the Preliminary Approval Order or the Final Judgment and Order of Dismissal) to approval by the

Court. Amendments and modifications may be made without notice to the Class unless notice is

required by law or by the Court.

       (g)     Nothing in this Agreement constitutes an admission by MLS PIN as to the merits

of the allegations made in the Action, the validity of any defenses that could be asserted by MLS

PIN, or the appropriateness of certification of any class other than the Settlement Class under

Federal Rule of Civil Procedure 23 for purposes of settlement only. This Agreement is without

prejudice to the rights of MLS PIN to do any of the following:




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               (i)     Challenge the Court’s certification of any class, including the Class, in the

                       Action should the Agreement not be approved or implemented for any

                       reason; and/or

               (ii)    Oppose any certification or request for certification in any other proposed

                       or certified class action.

       (h)     All terms of this Agreement shall be governed by and interpreted according to the

substantive laws of the Commonwealth of Massachusetts without regard to its choice-of-law

principles.

       (i)     Except as provided in Paragraph 10, MLS PIN, Plaintiffs, their respective counsel,

and the Settlement Class Members hereby irrevocably submit to the exclusive jurisdiction of the

United States District Court for the District of Massachusetts solely for the purpose of any suit,

action, proceeding or dispute arising out of or relating to this Agreement or the applicability of this

Agreement, including, without limitation, any suit, action, proceeding, or dispute relating to the

release provisions herein.

       (j)     This Agreement may be executed in counterparts by Plaintiffs and MLS PIN, and

a facsimile or .pdf signature shall be deemed an original signature for purposes of executing this

Agreement.

       (k)     Plaintiffs and MLS PIN acknowledge that they have been represented by counsel

and have made their own investigations of the matters covered by this Agreement to the extent

they have deemed it necessary to do so. Therefore, Plaintiffs and MLS PIN and their respective

counsel agree that they will not seek to set aside any part of this Agreement on the grounds of

mistake. Moreover, Plaintiffs and MLS PIN and their respective counsel understand, agree, and

expressly assume the risk that any fact may turn out hereinafter to be other than, different from, or



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contrary to the facts now known to them or believed by them to be true, and further agree that this

Agreement shall be effective in all respects notwithstanding and shall not be subject to termination,

modification, or rescission by reason of any such difference in facts.

       (l)     The terms of the Agreement shall remain confidential until the filing of the

Agreement with the Court.

       (m)     Each of the undersigned attorneys represents that he is fully authorized to enter into

the terms and conditions of, and to execute, this Agreement. Each of the undersigned attorneys

shall use their best efforts to effectuate this Agreement.

14.    SIGNATURES

       WITNESS WHEREOF, the Parties hereto have agreed to this Agreement as of the date

first herein written above.


 Plaintiffs and on behalf of the Settlement        On behalf of Defendant MLS PIN
 Class

 _____________________________                     __________________________________
 Jennifer Nosalek                                  By:

                                                   Title:
 _____________________________
 Randy Hirschorn


 _____________________________                     __________________________________
 Tracey Hirschorn                                  Jon M. Anderson
                                                   BRENNAN RECUPERO CASCIONE
                                                   SCUNGIO & McALLISTER, LLP
 _____________________________                     362 Broadway
 Robert A. Izard (pro hac vice)                    Providence, RI 02909
 Douglas P. Needham, BBO No. 67101                 (401) 453-2300
 Craig A. Raabe (pro hac vice)                     (401) 453-2345 fax
 Seth R. Klein (pro hac vice)                      janderson@brcsm.com
 Christopher M. Barrett (pro hac vice)
 IZARD, KINDALL & RAABE, LLP                       J. Matthew Goodin (pro hac pending)
 29 South Main Street, Suite 305                   LOCKE LORD LLP
 West Hartford, CT 06107                           111 South Wacker Drive

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Attorneys for Plaintiffs




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         Exhibit 1
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EXECUTION COPY
                                         EXHIBIT 1
                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 JENNIFER NOSALEK, RANDY
 HIRSCHORN, and TRACEY HIRSCHORN,
 individually and on behalf of all others
 similarly situated,

               Plaintiffs,

 v.

 MLS PROPERTY INFORMATION
 NETWORK, INC., ANYWHERE REAL
 ESTATE INC. (F/K/A REALOGY
 HOLDINGS CORP.), CENTURY 21 REAL
 ESTATE LLC, COLDWELL BANKER
                                                 Case No. 1:20-cv-12244-PBS
 REAL ESTATE LLC, SOTHEBY’S
                                                 Judge Patti B. Saris
 INTERNATIONAL REALTY AFFILIATES
 LLC, BETTER HOMES AND GARDENS
 REAL ESTATE LLC, ERA FRANCHISE
 SYSTEMS LLC, HOMESERVICES OF
 AMERICA, INC., BHH AFFILIATES, LLC,
 HSF AFFILIATES, LLC, RE/MAX LLC,
 POLZLER & SCHNEIDER HOLDINGS
 CORPORATION, INTEGRA
 ENTERPRISES CORPORATION, RE/MAX
 OF NEW ENGLAND, INC., RE/MAX
 INTEGRATED REGIONS, LLC, AND
 KELLER WILLIAMS REALTY, INC.,

               Defendants.


  [PROPOSED] ORDER PRELIMINARILY APPROVING SETTLEMENT BETWEEN
      PLAINTIFFS AND MLS PROPERTY INFORMATION NETWORK, INC.

       THIS CAUSE came before the Court on Jennifer Nosalek, Randy Hirschorn, and Tracey

Hirschorn’s (“Plaintiffs”) Motion for Preliminary Approval of Settlement with MLS Property

Information Network, Inc. (“MLS PIN”), filed June 30, 2023. Plaintiffs subsequently entered into

an Amended Settlement Agreement with MLS PIN (the “Settlement Agreement”), which was

submitted to the Court as Exhibit A to the Second Declaration of Seth R. Klein filed September
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 1 2023. The Court, having reviewed the Motion, its accompanying memorandum and
___,

declarations, the Settlement Agreement, and the file, hereby:

                                    ORDERS AND ADJUDGES:

        1.      Terms used in this Order that are defined in the Settlement Agreement are, unless

otherwise defined herein, used in this Order as defined in the Settlement Agreement.

                       Preliminary Approval of the Settlement Agreement

        2.      The terms of the Settlement are hereby preliminarily approved, including the

releases contained therein, as being fair, reasonable, and adequate to the Settlement Class, subject

to the Fairness Hearing described below. The Court finds that the Settlement Agreement was

entered into at arm’s-length by highly experienced counsel and is sufficiently within the range of

reasonableness that notice of the Settlement Agreement should be given as provided in this Order.

                                Certification of the Settlement Class

        3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies,

solely for purposes of effectuating the Settlement set forth in the Settlement Agreement, the

following Settlement Class:

        Sellers who paid, and/or on whose behalf sellers’ brokers paid, Buyer-Broker
        Commissions during the Settlement Class Period in connection with the sale of
        Residential Real Estate listed on Pinergy.1

        4.      The Court’s certification of the Settlement Class as provided herein is without

prejudice to, or waiver of the rights of, any other defendant to contest certification of the proposed

class in this Action. The Court’s findings herein shall have no effect on the Court’s ruling on any


1
  Specifically excluded from the Settlement Class are Defendants; Released Parties; co-conspirators; the
officers, directors, or employees of any Defendant, Released Party, or co-conspirator; any entity in which
any Defendant, Released Party, or co-conspirator has a controlling interest; any affiliate, legal
representative, heir, or assign of any Defendant, Released Party, or co-conspirator and any person acting
on their behalf. Also excluded from the Settlement Class are any judicial officers presiding over this action
and the members of his/her immediate families and judicial staff, and any juror assigned to the Action.

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motion to certify any class in this Action, and no party may cite or refer to the Court’s certification

of the Settlement Class as persuasive or binding authority with respect to any motion to certify any

such class. The findings that follow in paragraphs 5-6 are limited to this particular Order and are

made only in the context of this particular settlement.

       5.      The Court finds that, solely for the purpose of effectuating the Settlement, the

requirements of Rule 23 are satisfied and Plaintiffs should be appointed as Class Representatives.

More specifically, the Court finds as follows:

                       a.      Pursuant to Rule 23(a)(1), that the members of the Class are so

               numerous that their joinder before the Court would be impracticable;

                       b.      Pursuant to Rule 23(a)(2), that Plaintiffs have alleged one or more

               questions of fact or law common to the Class;

                       c.      Pursuant to Rule 23(a)(3), that Plaintiffs’ claims are typical of the

               claims of the Class;

                       d.      Pursuant to Rule 23(a)(4), that Plaintiffs will fairly and adequately

               protect the interests of the Class; and

                       e.      Pursuant to Rule 23(b)(2), that final injunctive relief or

               corresponding declaratory relief is appropriate respecting the Class as a whole.

       6.      The Court directs that the Parties implement the Settlement Agreement on the

following timetable:




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    Deadline for commencement of Notice Plan _______________________, 2023
    (mailing of Postcard Notice, start of social
    media campaign, publication of first [40 days after entry of Preliminary Approval
    publication notice, issuance of press release, Order]
    and launch of Settlement website)

    Motion(s) for, and memoranda in support of, _______________________, 2023
    (i) Final Approval of Settlement and
    (ii) Fee, Expense and Litigation Fund [45 days after entry of Preliminary Approval
    Application                                 Order]

    Last day for objections to the Settlement to be _______________________, 2023
    filed with the Court and sent to counsel
                                                    [28 days before date set by Court for Final
                                                    Approval Hearing]

    Parties file responses to any filed objections _______________________, 2023
    and any other reply briefs in support of Final
    Approval and Fee, Expense and Litigation [14 days before date set by Court for Final
    Fund Application                               Approval Hearing]

    Final Approval Hearing                               _______________________, 2023

                                                         [At the convenience of the Court, but not less
                                                         than 110 days after entry of Preliminary
                                                         Approval Order



          7.     If the Effective Date2 does not occur with respect to the Settlement because of the

failure of any condition that affects the Settlement, this certification of the Class shall be deemed

null and void as to the Parties to the Settlement without the need for any further action by the Court


2
  Pursuant to paragraph 6(a) of the Settlement Agreement: “The Effective Date shall be the date when all
of the following events shall have occurred and shall be contingent on the occurrence of all of the following
events: (i) Entry by the Court of the Preliminary Approval Order; (ii) Final approval by the Court of the
Settlement set forth in this Agreement, following Class Notice and the Fairness Hearing; (iii) No Party
having exercised his, her, or its rights to terminate this Agreement; and (iv) Entry by the Court of a Final
Judgment and Order of Dismissal, and the Final Judgment and Order of Dismissal becoming final, or, in
the event that the Court enters an Alternative Judgment and neither Class Plaintiffs nor MLS PIN elects to
terminate this Agreement, such Alternative Judgment becomes final. Neither the provisions of Federal
Rule 60 nor the All Writs Act, 28 U.S.C. § 1651, shall be taken into account in determining the above-
stated times.”

                                                     4
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or MLS PIN. In such circumstances, MLS PIN shall retain its rights to oppose certification of this

litigation as a class action under Rule 23 of the Federal Rules of Civil Procedure, or under any

other state or federal rule, statute, law, or provision thereof, and to contest and appeal any grant or

denial of certification in this litigation or in any other litigation on any grounds.

        8.      Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, and solely for

settlement purposes, the following counsel are appointed as interim counsel for the Settlement

Class: (1) Robert A. Izard and Seth R. Klein of Izard, Kindall & Raabe, LLP and (2) Christopher

L. Lebsock and Jose Roman Lavergne of Hausfeld LLP.

                                     Notice to Class Members

        9.      The Court approves Kroll Settlement Associates LLP (“Notice Administrator”) to

effectuate the notice plan set forth in the Settlement Agreement, in Plaintiffs’ Memorandum of

Law in Support of their Motion for Preliminary Approval, and in the affidavits submitted

therewith. Any fees, costs or expenses charged by Kroll associated with the Class Notice shall be

paid by MLS PIN in accord with the terms of the Settlement Agreement.

                                          Other Provisions

        10.     All proceedings in the Action against MLS PIN are stayed (except to the extent

necessary to effectuate the Settlement Agreement or to carry out any of its items) until the Court

renders a final decision on approval of the Settlement set forth in the Settlement Agreement.

        11.     In the event that the Settlement Agreement is terminated in accordance with its

provisions, then the Parties to the Settlement Agreement shall be deemed to have reverted to their

respective status in the Action as of the Execution Date without prejudice to any of MLS PIN’s

defenses, and, except as otherwise expressly provided in the Settlement Agreement, the Parties




                                                   5
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shall proceed in all respects as if the Settlement Agreement and any related orders had not been

entered.

       12.     Plaintiffs’ claims against the non-settling Defendants shall proceed and are not

affected by this Order.



IT IS SO ORDERED on this _____ day of____________________, 2023.


                                            _______________________________
                                            Hon. Patti B. Saris
                                            UNITED STATES DISTRICT JUDGE




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         Exhibit 2
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EXECUTION COPY
                                         EXHIBIT 2
                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 JENNIFER NOSALEK, RANDY
 HIRSCHORN, and TRACEY HIRSCHORN,
 individually and on behalf of all others
 similarly situated,

               Plaintiffs,

 v.

 MLS PROPERTY INFORMATION
 NETWORK, INC., ANYWHERE REAL
 ESTATE INC. (F/K/A REALOGY
 HOLDINGS CORP.), CENTURY 21 REAL
 ESTATE LLC, COLDWELL BANKER
                                                Case No. 1:20-cv-12244-PBS
 REAL ESTATE LLC, SOTHEBY’S
                                                Judge Patti B. Saris
 INTERNATIONAL REALTY AFFILIATES
 LLC, BETTER HOMES AND GARDENS
 REAL ESTATE LLC, ERA FRANCHISE
 SYSTEMS LLC, HOMESERVICES OF
 AMERICA, INC., BHH AFFILIATES, LLC,
 HSF AFFILIATES, LLC, RE/MAX LLC,
 POLZLER & SCHNEIDER HOLDINGS
 CORPORATION, INTEGRA
 ENTERPRISES CORPORATION, RE/MAX
 OF NEW ENGLAND, INC., RE/MAX
 INTEGRATED REGIONS, LLC, AND
 KELLER WILLIAMS REALTY, INC.,

               Defendants.


             [PROPOSED] FINAL JUDGMENT AND ORDER GRANTING
           FINAL APPROVAL OF SETTLEMENT BETWEEN PLAINTIFFS
               AND MLS PROPERTY INFORMATION NETWORK, INC.

       WHEREAS, an action is pending before this Court styled Nosalek v. MLS Property

Information Network, Inc., et al., No. 1:20-cv-12244-PBS (the “Action”);

       WHEREAS, Plaintiffs Jennifer Nosalek, Randy Hirschorn, and Tracey Hirschorn

(“Plaintiffs”) have moved, pursuant to Federal Rule of Civil Procedure 23(e), for an order (a)
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granting final approval to the Settlement Agreement1 with MLS Property Information Network,

Inc. (“MLS PIN”); (b) certifying the Settlement Class (defined in ¶ 5, infra); (c) seeking the

appointment of the Plaintiffs as representatives of the Settlement Class under Federal Rule of Civil

Procedure 23(g); (d) seeking appointment of Plaintiffs’ Counsel as interim counsel for the

Settlement Class under Federal Rule of Civil Procedure 23(g); and (e) granting final approval to

the joint Class Notice (defined in ¶ 10, infra);

       WHEREAS, the Court has considered the Settlement Agreement and other documents

submitted in connection with Plaintiffs’ Motion for Final Approval of Settlement with MLS PIN,

and good cause appearing therefor;

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.      This Court has subject matter jurisdiction over this Action and, solely for purposes

of effectuating the Settlement and subject to the express limitations contained in the Settlement

Agreement, personal jurisdiction over Plaintiffs, MLS PIN, and all members of the Settlement

Class (defined in ¶ 5, infra).

       2.      All terms in initial capitalization used in this Final Judgment and Order shall have

the same meanings as set forth in the Settlement Agreement, unless otherwise defined herein.

I.     FINAL APPROVAL OF SETTLEMENT

       3.      Upon review of the record, including the order preliminarily approving the

Settlement and the submissions in support of the Settlement and preliminary certification, the




1
  The Amended Settlement Agreement memorializing the terms of the settlement with MLS PIN
was entered into on September ___,
                                1 2023 and submitted to the Court as Exhibit A to the Second
Declaration of Seth R. Klein in support of Plaintiffs’ Motion for Preliminary Approval of
Settlement with MLS PIN [ECF No. ___].
                                                   2
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Court finds that the Settlement resulted from arm’s-length negotiations between highly

experienced counsel and fall within the range of possible approval.

       4.      Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, the Court hereby

grants final approval of the Settlement Agreement on the basis that it is fair, reasonable, and

adequate as to, and in the best interest of, all members of the Settlement Class within the meaning

of, and in compliance with all applicable requirements of, Federal Rule of Procedure 23; the Court

directs the Settlement’s consummation according to its terms. Moreover, the Court concludes as

follows:

               a.        The Settlement was negotiated by counsel with significant experience

               litigating antitrust class actions and are the result of vigorous arm’s-length

               negotiations undertaken in good faith;

               b.        This Action is likely to involve contested and serious questions of law and

               fact, such that the value of the prospective relief set forth in the Settlement

               outweighs the uncertain possibility of future relief after protracted and expensive

               litigation; and

               c.        Plaintiffs’ Counsels’ judgment that the Settlement is fair and reasonable,

               and the Settlement Class members’ reaction to the Settlement, are entitled to great

               weight.

II.    CERTIFICATION OF THE SETTLEMENT CLASS

       5.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies,

solely for purposes of effectuating the Settlement set forth in the Settlement Agreement, the

following Settlement Class:




                                                  3
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       Sellers who paid, and/or on whose behalf sellers’ brokers paid, Buyer-Broker
       Commissions during the Settlement Class Period in connection with the sale of
       Residential Real Estate listed on Pinergy.2

       6.      The Court’s certification of the Settlement Class as provided herein is without

prejudice to, or waiver of the rights of, any other defendant to contest certification of the proposed

class in this Action. The Court’s findings herein shall have no effect on the Court’s ruling on any

motion to certify any class in this Action, and no party may cite or refer to the Court’s certification

of the Settlement Class as persuasive or binding authority with respect to any motion to certify any

such class. The findings that follow in paragraphs 7-8 are limited to this particular Order and are

made only in the context of this particular Settlement.

       7.      The Court appoints Plaintiffs as Class Representatives and finds that the

requirements of Rule 23 are satisfied solely for the purpose of effectuating the Settlement as

follows:

               a.      Pursuant to Rule 23(a)(1), the Court determines that the members of the

               Class are so numerous that their joinder before the Court would be impracticable;

               b.      Pursuant to Rule 23(a)(2), the Court determines that Plaintiffs have alleged

               one or more questions of fact or law common to the Class;

               c.      Pursuant to Rule 23(a)(3), the Court determines that Plaintiffs’ claims are

               typical of the claims of the Class;




2
   Specifically excluded from the Settlement Class are Defendants; Released Parties; co-
conspirators; the officers, directors, or employees of any Defendant, Released Party, or co-
conspirator; any entity in which any Defendant, Released Party, or co-conspirator has a controlling
interest; any affiliate, legal representative, heir, or assign of any Defendant, Released Party, or co-
conspirator and any person acting on their behalf. Also excluded from the Settlement Class are
any judicial officers presiding over this action and the members of his/her immediate families and
judicial staff, and any juror assigned to the Action.
                                                  4
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                d.      Pursuant to Rule 23(a)(4), the Court determines that Plaintiffs will fairly

                and adequately protect the interests of the Class; and

                e.      Pursuant to Rule 23(b)(2), the Court determines that final injunctive relief

                or corresponding declaratory relief is appropriate respecting the Class as a whole.

        8.      If the Effective Date3 does not occur with respect to the Settlement because of the

failure of a condition that affects the Settlement, this certification of the Class shall be deemed null

and void as to the parties subject to the Settlement without the need for any further action by the

Court or MLS PIN. In such circumstances, MLS PIN shall retain its rights to seek or to object to

certification of this litigation as a class action under Rule 23 of the Federal Rules of Civil

Procedure, or under any other state or federal rule, statute, law, or provision thereof, and to contest

and appeal any grant or denial of certification in this litigation or in any other litigation on any

grounds.

III.    CLASS COUNSEL

        9.      Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, and solely for

settlement purposes, the following firms are appointed as counsel for the Settlement Class: (1)

Robert A. Izard and Seth R. Klein of Izard, Kindall & Raabe, LLP and (2) Christopher L. Lebsock

and Jose Roman Lavergne of Hausfeld LLP.



3
  Pursuant to paragraph 6(a) of the Settlement Agreement: “The Effective Date shall be the date
when all of the following events shall have occurred and shall be contingent on the occurrence of
all of the following events: (i) Entry by the Court of the Preliminary Approval Order; (ii) Final
approval by the Court of the settlement set forth in this Agreement, following Class Notice and
the Fairness Hearing; (iii) No Party having exercised his, her, or its rights to terminate this
Agreement; and (iv) Entry by the Court of a Final Judgment and Order of Dismissal, and the Final
Judgment and Order of Dismissal becoming final, or, in the event that the Court enters an
Alternative Judgment and neither Class Plaintiffs nor MLS PIN elects to terminate this Agreement,
such Alternative Judgment becomes final. Neither the provisions of Federal Rule 60 nor the All
Writs Act, 28 U.S.C. § 1651, shall be taken into account in determining the above-stated times.”


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IV.    FINAL APPROVAL OF CLASS NOTICE

       10.     Upon review of the record, the Court finds that the Class Notice4 constituted due,

adequate, and sufficient notice of the Settlement and was appropriate under the circumstances and

satisfied the requirements of Federal Rules of Procedure 23(c)(3)(A) and 23(e)(1), due process,

and any other applicable law. Therefore, the Class Notice is finally approved.

V.     OTHER PROVISIONS

       11.     The Court approves and directs the implementation of all the terms of the

Settlement Agreement.

       12.     If this Final Judgment and Order is set aside, materially modified, or overturned by

this Court or on appeal, and if it is not fully reinstated on further appeal, this Final Judgment and

Order certifying the Class shall be vacated nunc pro tunc.

       13.     All Released Parties5 and Releasing Parties6 are bound by this Final Judgment and

Order and by the Settlement Agreement.


4
  Class Notice is defined in paragraph 2(g) of the Settlement Agreement as: “The notice of
proposed settlement to be provided to the Settlement Class as provided in this Agreement and the
Preliminary Approval Order.”
5
 Released Party or Released Parties is defined in paragraph 2(aa) of the Settlement Agreement as:
“MLS PIN and each of its past or present direct and indirect parents (including holding companies),
subsidiaries, affiliates, associates (all as defined in SEC Rule 12b-2 promulgated pursuant to the
Securities Exchange Act of 1934), predecessors, successors, shareholders (except those who are
Defendants in the Action), and each of their respective officers, directors, employees, agents,
attorneys, legal or other representatives, trustees, heirs, executors, administrators, advisors, and
assigns. Released Parties does not include the other Defendants in the Action.”
6
  Releasing Party or Releasing Parties is defined in paragraph 2(bb) of the Settlement Agreement
as: “Individually and collectively, Plaintiffs and each Settlement Class Member, on behalf of
themselves and, to the extent permitted by law, any of their respective past or present officers,
directors, shareholders, agents, employees, legal representatives, partners, associates, trustees,
beneficiaries, beneficial owners, parents, subsidiaries, divisions, affiliates, heirs, executors,
administrators, purchasers, predecessors, successors, and assigns, whether or not they object to the
settlement set forth in this Agreement.”

                                                 6
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       14.     The Court dismisses with prejudice the Action as against MLS PIN, as well as all

of the Released Claims7, against any of the Released Parties by the Releasing Parties. The parties

are to bear their own costs, except as otherwise provided in the Settlement Agreement, provided

that such dismissal shall not affect, in any way, the right of the Releasing Parties to pursue claims,

if any, outside the scope of the Released Claims.

       15.     Upon the Effective Date, and except as otherwise authorized under paragraph 8(b)

of the Settlement Agreement, the Releasing Parties: (a) shall be deemed to have hereby fully and

irrevocably waived, released, relinquished, and discharged all Released Claims against the

Released Parties; (b) shall forever be enjoined from prosecuting in any forum any Released Claim

against any of the Released Parties; and (c) agree and covenant not to sue any of the Released

Parties on the basis of any Released Claims or to assist any third party in commencing or

maintaining any suit against any Released Party related in any way to any Released Claims.

       16.     The Settlement Agreement, acts performed in furtherance of the Settlement

Agreement and/or documents executed in furtherance of the Settlement Agreement may not be

deemed or used as evidence of an admission or other statement supporting: (a) the validity of any

claim made by Plaintiffs, Settlement Class, or Class Counsel (including without limitation the

appropriateness of class certification); (b) any wrongdoing or liability of the Released Parties; or




7
  Released Claims is defined in paragraph 2(z) of the Settlement Agreement as: “Any and all
manner of claims, causes of action, cross-claims, counter-claims, charges, liabilities, demands,
judgments, suits, obligations, debts, setoffs, rights of recovery, or liabilities for any obligations of
any kind whatsoever (however denominated), whether class or individual, in law or equity or
arising under constitution, statute, regulation, ordinance, contract, or otherwise in nature, for fees,
costs, penalties, fines, debts, expenses, attorneys’ fees, and damages and liabilities of any nature
whatsoever (including joint and several), known or unknown, suspected or unsuspected, asserted
or unasserted, arising from or relating in any way to any conduct alleged or that could have been
alleged in and that arise from the factual predicate of the Action.”
                                                   7
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(c) any fault or omission of the Released Parties in any court, administrative agency, or other

proceeding.

       17.     The Settlement Agreement shall not be offered or be admissible in evidence against

Released Parties in any action or proceeding, except in an action or proceeding that is in

furtherance of the respective Settlement's terms or brought to enforce its terms. Notwithstanding

the foregoing, the Settlement Agreement may be filed in an action to enforce or interpret the terms

of the respective Settlement Agreement and any other documents executed in connection with the

performance of the agreements embodied therein. The Released Parties may file the Settlement

Agreement and/or this Final Judgment and Order in any action that may be brought against them

in order to support a defense or counterclaim based on the principles of res judicata, collateral

estoppel, full faith and credit, release, good faith settlement, judgment bar, or reduction or any

other theory of claim preclusion or issue preclusion or similar defense or counterclaim.

       18.     Any order entered regarding the motion for attorneys’ fees and expenses in this

Action shall in no way disturb or affect this Final Judgment and Order and shall be considered

separate from this Final Judgment and Order.

       19.     If this Final Judgment and Order is set aside, materially modified, or overturned by

this Court or on appeal, and is not fully reinstated on further appeal, this Final Judgment and Order

shall be deemed vacated and shall have no force or effect whatsoever. In the event the Settlement

Agreement is terminated in accordance with its terms, is vacated, is not approved, or the Effective

Date fails to occur for any reason, then the parties shall be deemed to have been restored to their

respective status in the Action as of the Execution Date without prejudice and shall comply with

all applicable provisions of the Settlement Agreement including, without limitation, the provisions

of its paragraph 12(c).



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       20.     Without affecting the finality of this Final Judgment and Order in any way, this

Court hereby retains exclusive continuing jurisdiction over: (a) implementation of the Settlement

Agreement; (b) hearing and determining applications for attorneys' fees, costs, and expenses; and

(c) all parties hereto for the purpose of construing, enforcing, and administering the Settlement

Agreement.

       21.     To the extent permitted by law, the Court bars claims against the Released Parties

for contribution or indemnification (however denominated) for all or a portion of any amounts

paid or awarded in the Action by way of any settlement, judgment or otherwise by any of the

following:

               a.      Any of the other Defendants currently named in the Action;

               b.      Any other Person8 formerly named as a party in the Action; or

               c.      Any other Person subsequently added or joined as a party in this Action.

       22.     There is no just reason for delay in the entry of this Final Judgment and Order, and

immediate entry by the Clerk of the Court is expressly directed pursuant to Rule 54(b) of the

Federal Rules of Civil Procedure.



IT IS SO ORDERED on this _____ day of____________________, 2023.


                                               _______________________________
                                               Hon. Patti B. Saris
                                               UNITED STATES DISTRICT JUDGE


8
   Person(s) is defined in paragraph 2(u) of the Settlement Agreement as: “An individual,
corporation, limited liability corporation, professional corporation, limited liability partnership,
partnership, limited partnership, association, joint stock company, estate, legal representative,
trust, unincorporated association, municipality, state, state agency, any entity that is a creature of
any state, any government or any political subdivision, authority, office, bureau or agency of any
government, and any business or legal entity, and any spouses, heirs, predecessors, successors,
representatives, agents, or assignees of the foregoing.”
                                                  9
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      Exhibit 3a
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EXECUTION COPY
                                  Exhibit 3a
           NOSALEK v. MLS PROPERTY INFORMATION NETWORK, INC.,
                            No. 1:20-cv-12244-PBS

CHANGE #1: Section 1.0(c):

   (c) ACCEPTANCE OF LISTINGS. Except as specifically set forth in the next sentence of this
   Section 1.0(c), tThe Service will accept for Filing only those Listings that make it possible for the
   Listing Broker to offer cooperation, with accompanying compensation, to Cooperating Brokers, as
   and in the manner provided for in Article V below. In the context of this Section 1.0(c) and of
   Section 5.0 below, “cooperation” shall be defined as the ability of a Cooperating Broker to assist its
   client or customer in the purchase, lease, or rental of a Listed Property.Notwithstanding the foregoing,
   the Service will accept for Filing Listings of properties for lease or rent that make it possible for the
   Listing Broker to offer cooperation to Cooperating Brokers, even if those Listings do not offer
   accompanying compensation.

   The Service will accept for Filing a Listing only if the Listing Broker has first certified, through the
   appropriate key, code or symbol on the Property Data Form as specified by the Service, that the
   Listing Broker, before entering into the Listing Agreement with respect to that Listing, notified the
   Seller (i) that the Service does not require the Seller to offer compensation to Cooperating Brokers,
   and (ii) that, while a Cooperating Broker may request compensation from the Seller in lieu of
   requesting from the prospective purchaser all or a portion of any compensation to which the
   Cooperating Broker and prospective purchaser may agree for the Cooperating Broker’s services to
   that prospective purchaser, the Service does not require the Seller to accede to such a request.

   If the Service becomes aware of any proposed Listing or any existing Listing that, in the sole and
   exclusive determination of the Service, may not comply with all fair housing and other laws and
   regulations that may be applicable to the sale, lease or rental of the proposed or existing Listing, the
   Service may refuse to accept the proposed Listing for Filing and may remove the existing Listing
   from the Service Compilation. Any such determination and action by the Service shall be final, and
   neither the Service, nor any of its employees or agents, shall have an liability or responsibility of any
   kind, nor shall any Participant or Subscriber have or assert any claim against the Service, or against
   any of its employees or agents, arising out of (i) such determination or action by the Service, (ii) the
   Service’s failure for any reason to make any such determination or take any such action or (iii) the
   Service’s failure for any reason to become aware of a proposed or existing Listing’s possible non-
   compliance with any fair housing or other law or regulation.

CHANGE #2: Section 5.0:

   SECTION 5.0 COOPERATIVE COMPENSATION SPECIFIED ON EACH LISTING:
   Except only for Listings of properties offered for lease or rental, for which the Listing Broker (as
   provided in Section 1.0(c) above) is not obligated to offer compensation to other Participants for their
   services as Cooperating Brokers, aThe Listing Broker shall specify, on each Listing Filed with the
   Service, the any compensation offered by the Seller to other Participants for their services as
   Cooperating Brokers in the sale, lease or rental of the Listed Property. Such offers shall be
   unconditional, except that entitlement to compensation shall be conditioned on the Cooperating
   Broker’s performance as the procuring cause of the sale, lease or rental. If a Listing does not contain
   such an offer of compensation, the Cooperating Broker may request compensation from the Seller in
   lieu of requesting from the prospective purchaser all or a portion of any compensation to which the
   Cooperating Broker and prospective purchaser may have agreed for the Cooperating Broker’s
   services to that prospective purchaser. The Service does not require the Seller to accede to such a
   request.A Listing Broker’s obligation to compensate any Cooperating Broker as the procuring cause
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                         No. 1:20-cv-12244-PBS

of a sale, lease or rental may be excused only by agreement between the Listing Broker and the
Cooperating Broker or by determination through arbitration or other legal process. Notwithstanding
any agreement between the Listing Broker and the Seller of a Listed Property with respect to the
compensation of a Cooperating Broker for the sale, lease or rental of the Listed Property, the ultimate
responsibility and liability for compensating the Cooperating Broker shall remain with the Listing
Broker. If a Listing Broker for a property offered for lease or rental elects to offer compensation to
other Participants for their services as Cooperating Brokers, that Listing Broker is subject to the same
requirements regarding cooperative compensation hereunder as a Listing Broker for a property
offered for sale.

Note 1:      Subject to the second paragraph of Section 1.0(c) above, the Listing Broker must obtain
the Seller’s prior authorization (1) for the Seller to offer compensation with respect to a Listing, and
(2) for any amount of compensation to be offered by the Seller with respect to a Listing.In Filing a
Listing with the Service, a Participant is deemed to be making blanket unilateral offers of
compensation to the other Participants in the Service. The Participant therefore shall specify on each
Listing Filed with the Service the compensation being offered to the other Participants, as a
Cooperating Broker has the right to know, prior to initiating any sales effort, what its compensation
might be for that effort.

The Listing Broker has the right to determine the amount of compensation to be offered to a
Cooperating Broker. The compensation offered by a Listing Broker to a subagent, to a buyer’s agent
or to any other appropriately licensed facilitator in the process of selling a Listed Property, whether or
not the facilitator is acting in an agency capacity, may, but need not be, the same.

Subject to the provisions set forth in the third paragraph of Section 1.0(c) above , nNothing in Section
1.0 of Article I above or in this Section 5.0Article V shall preclude a SellerListing Broker from
offering a Participant compensation different from the compensation indicated on any Listing Filed
with the Service, provided that (1) the Listing Broker informs the Participant in writing of such
proposed change in compensation (a) in advance of the Participant’s producing an offer to purchase,
or, (b) in the case of an Auction Listing, in advance of the Participant’s registering a prospective
bidder for participation in the Auction, provided, however, that in either case the Service does not
prohibit the Participants, the Seller, and the prospective purchaser, following the production of an
offer to purchase, from negotiating and agreeing upon some compensation different from the
compensation indicated on the Listing Filed with the Service; and (2) the change in the listed
compensation is not the result of any agreement or other cooperative activity between the Listing
Broker and any one or more of the other Participants or Subscribers. Any superseding offer of
compensation must be expressed in the same manner that the original offer of compensation was
required to be expressed under this Note 1.

In addition to the foregoing, iIf a Seller requests that a Listing Broker not offer compensation to
and/or cooperation with a specific Participant in connection with the offering and sale of the Seller’s
property, the Listing Broker may accede to the Seller’s request, but only if the Listing Broker, prior to
Filing the Listing, transmits to such identified Participant a written notice of the Seller’s request.

A Listing Broker need not disclose the amount of total negotiated commissions in its Listing
Agreement, and the Service shall not publish the total negotiated commissions on a Listing that has
been Filed with the Service by a Participant. The Service shall not disclose the total commissions
negotiated between a Seller and a Listing Broker.




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   The total amount of any compensation offered to a Participant on a Listing Filed with the Service
   shall be shown in the Listing, in the appropriate compensation data field, either as (1) a percentage of
   the selling price of the Listed Property or (2) a definite dollar amount. If the total amount of any
   compensation offered is shown as a percentage of the selling price of the Listed Property as permitted
   by clause (1) (rather than as a definite dollar amount as permitted by clause (2)), the Listing Broker,
   as authorized by the Seller, shall elect to use as the “selling price” either (i) the full or gross selling
   price of the Listed Property or (ii) the Net Sales Price (as defined in Section 13.0 (the “Selling Price
   Selection”). The Selling Price SelectionListing Broker’s election shall be made and disclosed in the
   Property Data Form by a key, code or symbol specified for the purpose by the Service. The total
   amount of any compensation shown in the appropriate compensation data field shall set forth, without
   reference to any other data field, the total amount to which a Cooperating Broker shall be entitled for
   its performance as the procuring cause of the sale or lease of the Listed Property. Except only for (a)
   the percentage calculation permitted by clause (1) in the first sentence of this paragraph and (b) the
   calculation permitted by the next sentence in this paragraph, compensation shown in a Listing Filed
   with the Service shall be stated by the Listing Broker in such a way that it is not necessary for a
   Participant to make any mathematical calculation or employ any formula in order to determine the
   compensation offered.

   Nothing set forth in this Section 5.0 or elsewhere in these Rules and Regulations shall prohibit a
   SellerListing Broker from offering Participants, for their services as Cooperating Brokers, something
   of value over and above the compensation that mayrequired to be offered hereunder. Like the
   underlying offer of compensation that mayrequired to be made pursuant to this Section 5.0, any such
   offer of additional compensation shall not require or be conditioned on the Cooperating Broker’s
   taking or completing, or its refraining from taking or completing, any specified actions, except only
   that entitlement to any additional compensation that is offered shall be conditioned on the
   Cooperating Broker’s performance as the procuring cause of the sale, lease or rental of the Listed
   Property to which the underlying offer of compensation relates. If a SellerListing Broker elects to
   make an offer of additional compensation, an accurate description of the nature and terms of that offer
   shall be shown in the Listing in a data field other than the compensation data field.”

   Note 2:      If the Seller elects toA Listing Broker, from time to time, may adjust (i) the compensation
   offered to all other Participants for their services as Cooperating Brokers with respect to any Listing
   and/or (ii) anything of value that may be offered to other Participants for such services in addition to
   the compensation. A, any such adjustment shall be effected by the Listing Broker’s Filing with the
   Service a notice of such adjusted compensation and/or other adjusted offering. The notice of
   adjustment shall be Filed with the Service in advance of the production of any offer to purchase the
   Listed Property so that all Participants and prospective purchasers can be advised of such adjustment
   or adjustments through the Service Compilation, provided, however, that the Service does not
   prohibit a Listing Broker, a Cooperating Broker, a Seller, and a prospective purchaser, following the
   production of an offer to purchase, from negotiating and agreeing upon some compensation different
   from the compensation indicated on the Listing Filed with the Service. The adjusted compensation
   and/or other adjusted offering shall be effective from and after the time at which the notice of
   adjustment is Filed with the Service.

   Note 3:      Excepting the authorization and disclosure requirements set forth in this Section 5.0 and
   the dispute-resolution provisions set forth in Section 7.2, tThe Service takes no position on the
   division of commissions between a Participant and any individual or entity that is not a Participant.
   That division is the responsibility and concern solely of the Participant.

CHANGE #3: Attachment A, sanction for filing a listing without cooperation and compensation:

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   [VIOLATION:] Filing a Listing for which it is not possible for the Listing Broker to offer or provide
   cooperation, with accompanying compensation, to Cooperating Brokers (Section 1.0(c)).

   [SANCTION:] $100 and removal of the Listing from the Service Compilation for the first violation;
   $250 and removal of the Listing from the Service Compilation for the second violation; $500 and
   removal of the Listing from the Service Compilation for the third violation; for each violation
   thereafter, suspension of not less than ten (10) days and removal of the Listing from the Service
   Compilation.

CHANGE #4: Section 7.2:

   SECTION 7.2 DISPUTES BETWEEN PARTICIPANTS AND/OR SUBSCRIBERS: If a
   dispute arises between or among any two or more Participants, Subscribers to and/or users of the
   goods and services provided by the Service, and if that dispute arises out of the use of those goods or
   services, then, unless the dispute relates solely to a violation of these Rules and Regulations or of any
   policies of the Service which could subject the disputing parties to a sanction by the Service
   hereunder, the disputing parties agree that (a) they shall diligently and in good faith seek to resolve
   the dispute amicably, but (b) if they are unable to do so within thirty (30) days after the first notice of
   dispute is given by one disputant to the other disputing party or parties, then the dispute shall be
   submitted for resolution as provided in the next three sentences, such submission to be made
   promptly at the end of such thirty day period, but in no event later than (1) the close of business on
   the second business day following the last day of the thirty day period or (2) if agreed by all the
   disputing parties, the close of business on an earlier or later date agreed upon by all of such parties. If
   each of the disputing parties is a “REALTOR®” (as defined from time to time by the National
   Association of REALTORS®), and if mandated by the rules, regulations or other requirements of the
   National Association of REALTORS®, or any affiliate thereof, to which the disputing parties are
   subject, the parties shall submit their dispute for resolution by binding arbitration to a tribunal that is
   maintained by any board or association of REALTORS® (a “REALTOR® Tribunal”) and that has
   been chosen or otherwise determined in accordance with such rules, regulations or other
   requirements. If one or more of the disputing parties is a REALTOR® and one or more is not, the
   parties shall submit their dispute for resolution by binding arbitration either (i) to a REALTOR®
   Tribunal (which may include, without limitation, a REALTOR® Tribunal maintained by the
   Massachusetts Association of REALTORS®) (A) that is selected by the REALTOR® or
   REALTORS® that are party to the dispute and (B) that is willing to conduct the arbitration or (ii) if
   agreed to by all the disputing parties, to a tribunal of any kind acceptable to the disputing parties. If
   none of the disputing parties is a REALTOR®, the parties shall submit their dispute for resolution
   either (I) to a court with which one or more of the disputing parties has been the first to file a
   complaint relating to the dispute, provided that such court has jurisdiction over all of the disputing
   parties, or (II) if a complaint has not been filed with a court pursuant to clause (I), and if all the
   disputing parties agree, by binding arbitration to a tribunal of any kind acceptable to the disputing
   parties. The Service shall have no responsibility of any kind with respect to, nor shall the Service
   have, and none of the disputing parties shall assert or have the right to assert against the Service, any
   liability related to or arising out of the dispute or the mediation, arbitration or other resolution of the
   dispute. Notwithstanding the continuation of any such dispute, the parties to the dispute shall remain
   obligated to comply with these Rules and Regulations, with the policies of the Service and with all
   other conditions to their continued use of the goods and services provided by the Service.
   Throughout the continuation of any dispute, the parties to the dispute shall keep the Service informed
   in writing of the status of the dispute and of the terms and conditions of its settlement.


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   Note 1: If a dispute arises between a Seller and one or more Participants involving entitlement to,
   and/or payment of, compensation offered pursuant to Section 5.0 in connection with a Listing, and if
   the Seller requests that the dispute be submitted for resolution via arbitration to a REALTOR®
   Tribunal that is willing to conduct the arbitration, the involved Participant(s) shall submit to the
   arbitration through the REALTOR® Tribunal and shall not submit the dispute for resolution to a
   court without the Seller’s agreement.For the avoidance of doubt, among the kinds of disputes to
   which the foregoing dispute resolution procedures apply are disputes of every kind involving the
   proper payment of compensation offered pursuant to Section 5.0 in connection with a Listing,
   including without limitation disputes between a Listing Broker and a Cooperating Broker, between or
   among two or more Participants asserting claims to be the Listing Broker for a Listing or between or
   among two or more Participants asserting claims to be the Cooperating Broker for the Listing.

   If the Service at any time receives notice that two or more Participants or Subscribers claim to have
   entered into (or to have the right to enter into) separate Listing Agreements with a Seller for the same
   property, the Service will so advise each of the named Participants or Subscribers, and the matter
   shall be treated as a dispute between such Participants and/or Subscribers to be resolved in the
   manner provided in the first paragraph of this Section 7.2. The Service shall have no liability or
   responsibility of any kind with respect to the dispute, as provided in the first paragraph of this Section
   7.2. Notwithstanding the efforts of the parties to resolve the dispute, if the dispute has not been
   resolved within ten (10) days after the Service has advised the parties of the conflicting Listing
   Agreements, the Service, in its sole and absolute discretion, and in order to preserve the integrity of
   the data and information in the Service Compilation, may remove from the Service Compilation the
   Listings of the property which is in dispute. Simultaneously with such removal, the Service shall give
   notice of the removal to each of the disputing parties. The Service shall be under no obligation to
   reinstate the removed Listing to the Service Compilation unless and until each of the disputing parties
   has Filed a notice with the Service acknowledging that the dispute has been resolved and identifying
   the single Participant and/or Subscriber under whose name the property is to be entered into the
   Service Compilation as the Listing Broker.

CHANGE #5: Change Attachment A, REMOVE sanction for failure or refusal to pay undisputed
compensation.

   [VIOLATION:] Failure or refusal of a Participant to pay to another Participant the compensation
   and/or anything else of value offered or owed to that other Participant in a transaction in which the
   other Participant’s entitlement to the compensation and/or to the other value offered or owed is
   undisputed or the dispute concerning the compensation and/or the other value offered or owed has
   been finally resolved in accordance with the dispute resolution provisions of Section 7.2 (Section 5.0
   and Section 7.2)
   [SANCTION:] If compensation and/or any other value offered or owed is not paid in full within five
   (5) days after warning by the Service, suspension until the compensation and/or the other value
   offered or owed, as the case may be, is paid in full. The Service will not issue a warning unless and
   until it has received written evidence reasonably satisfactory to it that either entitlement to the
   compensation and/or to the other value offered or owed, as the case may be, is undisputed or the
   dispute concerning the compensation and/or the other value offered or owed has been finally resolved
   in accordance with the dispute resolution provisions of Section 7.2.

CHANGE #6: Section 10.4(b):

   (b) Nothing contained in this Section 10.4 or elsewhere in these Rules and Regulations is intended to
   grant, nor shall anything herein or therein be deemed to grant, to any Participant or Subscriber any

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   right of access to or usage of any data, information or Image contained in any Service Compilation
   where grant of such rights or access to or usage of such data, information or Image is prohibited or
   not permitted by applicable law. Without limiting the foregoing, no Participant or Subscriber may
   filter, suppress, hide, or not display or distribute any data, information or Image contained in any
   Service Compilation based on (i) the level of compensation, if any, offered to Cooperating Brokers,
   or (ii) the name or other identifier of the Listing Broker or agent affiliated with the Listing Broker.

CHANGE #7: Attachment A, sanction for violating Section 10.4(b):

   [VIOLATION:] Violation of the prohibition against a Participant’s or Subscriber’s filtering,
   suppressing, hiding, or not displaying or distributing any data, information or Image contained in any
   Service Compilation based on (i) the level of compensation, if any, offered to Cooperating Brokers,
   or (ii) the name or other identifier of the Listing Broker or agent affiliated with the Listing Broker
   (Section 10.4(b)).

   [SANCTION:] A warning for the first violation; if the violation is not corrected by the end of the
   third calendar day after delivery of the warning, $1,000 and possible suspension of service until the
   violation is corrected. For each subsequent violation, $1,000 and possible suspension until the
   violation is corrected

CHANGE #8: Attachment A, sanction for displaying compensation in a non-compliant format:

   [VIOLATION:] Failure or refusal to show total compensation, if any, offered to a Cooperating
   Broker on a Listing in the manner or format required by Section 5.0 (Section 5.0).

   [SANCTION:] $250 for the first violation; $500 for the second violation; $1,000 for the third
   violation; and suspension of not less than ten (10) days for each violation thereafter. For each
   violation, beginning with the first, and in addition to the above sanctions, the violation will result in
   removal of the Listing from the Service Compilation.

CHANGE #9: Attachment A, new sanction for a Listing Broker’s failure or refusal to comply with the
notification, authorization, and certification requirements of Section 1.0(c):

   [VIOLATION:] Failure or refusal, by a Listing Broker or its agent, to comply with either (i) the
   notification and certification requirements set forth in the second paragraph of Section 1.0(c), or (ii)
   the authorization requirements set forth in the first paragraph of Note 1 of Section 5.0, with regard to
   any existing or proposed Listing.

   [SANCTION:] A written warning for the first violation; $500 and removal of the Listing from the
   Service Compilation for the second violation; $1000 and removal of the Listing from the Service
   Compilation for the third violation; for each violation thereafter, suspension of not less than ten (10)
   days and removal of the Listing from the Service Compilation.

CHANGE #10: Section 13.0, excerpted definitions of Listing Agreement and Participant:

   Listing Agreement - Shall mean a signed written agreement between a Seller and a broker which
   constitutes either an Exclusive Agency, an Exclusive Right To Sell, an Exclusive Right to Sell at
   Auction, an Exclusive Right To Sell With Dual Rate of Commission, an Exclusive Right To Sell
   With Named Exclusion, an Exclusive Right To Sell With Variable Rate Of Commission, a
   Facilitation/Exclusive, a Facilitation/Exclusive Right To Sell Listing, a Facilitation/Exclusive Right

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   To Sell With Dual Rate of Commission, a Facilitation/Exclusive Right To Sell With Named
   Exclusion, a Facilitation/Exclusive Right To Sell With Variable Rate Of Commission or an Exclusive
   Right to Rent. A Listing Agreement must include (i) the Seller’s written authorization to the Listing
   Broker to submit the Listing Agreement to the Service and to File the Listing at such time and upon
   satisfaction of such conditions as shall be specified therein; (ii) all of the required notifications
   specified in the second paragraph of Section 1.0(c) of these Rules and Regulations; and (iii) if the
   Seller elects to offer compensation to Cooperating Brokers, the Seller’s written acknowledgment that
   the Cooperating Broker is an intended third-party beneficiary of the Listing Agreement with the right
   to enforce the same.

   …

   Participant - Shall mean, as the context requires, (i) any individual or sole proprietorship and any
   partnership, corporation, limited liability company or other legal entity which Participates in the
   Service (sometimes referred to herein as a “Participant Firm”) and/or (ii) the individual who is
   designated by a Participant Firm to be the individual with the responsibility of the Participant under
   these Rules and Regulations (sometimes referred to herein as an “Individual Participant”). For
   purposes of qualifying for Participation in the Service, the proposed Participant Firm and the
   proposed Individual Participant shall be required to satisfy the applicable eligibility requirements
   stated in the definition of “Participation” below. Upon admission of a Participant Firm to
   Participation in the Service, an Individual Participant has and may exercise all of the rights, benefits
   and privileges of Participation in the Service in the name and on behalf of the Participant Firm with
   which the Individual Participant is affiliated. Any such Individual Participant shall be responsible for
   compliance with all of the liabilities and obligations to the Service by the Participant Firm with which
   the Individual Participant is affiliated, including compliance with these Rules and Regulations and
   with the policies of the Service by all of the Subscribers and other persons affiliated with the
   Participant Firm. Under no circumstances is any individual or entity entitled to be a Participant or to
   Participate in the Service unless (a) the individual or entity holds a current, valid real estate broker’s
   license issued by one or more of the Subscription States and has all necessary power and authority to
   offer and accept cooperation and compensation to and from other Participants, (b) the individual
   holds a current, valid license or certificate issued by an appropriate state regulatory agency or
   authority of any one or more of the Subscription States to engage in the appraisal of real property or
   (c) the entity (I) employs or otherwise engages the services of licensed or certified appraisers one or
   more of whom are Participants and (II) meets the applicable standards set forth in the definition of
   Participation in this Section 13.0.

CHANGE #11: Rename Article V:

   ARTICLE V - DISCLOSING COMPENSATION AND CONFLICTS OF
   INTERESTDIVISION OF COMMISSIONS




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     Exhibit 3b
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CHANGE #1: Section 1.0(c):

   (c) ACCEPTANCE OF LISTINGS. The Service will accept for Filing only those Listings that make
   it possible for the Listing Broker to offer cooperation to Cooperating Brokers. In the context of this
   Section 1.0(c) and of Section 5.0 below, “cooperation” shall be defined as the ability of a Cooperating
   Broker to assist its client or customer in the purchase, lease, or rental of a Listed Property.

   The Service will accept for Filing a Listing only if the Listing Broker has first certified, through the
   appropriate key, code or symbol on the Property Data Form as specified by the Service, that the
   Listing Broker, before entering into the Listing Agreement with respect to that Listing, notified the
   Seller (i) that the Service does not require the Seller to offer compensation to Cooperating Brokers,
   and (ii) that, while a Cooperating Broker may request compensation from the Seller in lieu of
   requesting from the prospective purchaser all or a portion of any compensation to which the
   Cooperating Broker and prospective purchaser may agree for the Cooperating Broker’s services to
   that prospective purchaser, the Service does not require the Seller to accede to such a request.

   If the Service becomes aware of any proposed Listing or any existing Listing that, in the sole and
   exclusive determination of the Service, may not comply with all fair housing and other laws and
   regulations that may be applicable to the sale, lease or rental of the proposed or existing Listing, the
   Service may refuse to accept the proposed Listing for Filing and may remove the existing Listing
   from the Service Compilation. Any such determination and action by the Service shall be final, and
   neither the Service, nor any of its employees or agents, shall have an liability or responsibility of any
   kind, nor shall any Participant or Subscriber have or assert any claim against the Service, or against
   any of its employees or agents, arising out of (i) such determination or action by the Service, (ii) the
   Service’s failure for any reason to make any such determination or take any such action or (iii) the
   Service’s failure for any reason to become aware of a proposed or existing Listing’s possible non-
   compliance with any fair housing or other law or regulation.

CHANGE #2: Section 5.0:

   SECTION 5.0 COOPERATIVE COMPENSATION SPECIFIED ON EACH LISTING: The
   Listing Broker shall specify, on each Listing Filed with the Service, any compensation offered by the
   Seller to other Participants for their services as Cooperating Brokers in the sale, lease or rental of the
   Listed Property. Such offers shall be unconditional, except that entitlement to compensation shall be
   conditioned on the Cooperating Broker’s performance as the procuring cause of the sale, lease or
   rental. If a Listing does not contain such an offer of compensation, the Cooperating Broker may
   request compensation from the Seller in lieu of requesting from the prospective purchaser all or a
   portion of any compensation to which the Cooperating Broker and prospective purchaser may have
   agreed for the Cooperating Broker’s services to that prospective purchaser. The Service does not
   require the Seller to accede to such a request.

   Note 1:      Subject to the second paragraph of Section 1.0(c) above, the Listing Broker must obtain
   the Seller’s prior authorization (1) for the Seller to offer compensation with respect to a Listing, and
   (2) for any amount of compensation to be offered by the Seller with respect to a Listing.
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Subject to the provisions set forth in the third paragraph of Section 1.0(c) above, nothing in this
Section 5.0 shall preclude a Seller from offering a Participant compensation different from the
compensation indicated on any Listing Filed with the Service, provided that (1) the Listing Broker
informs the Participant in writing of such proposed change in compensation (a) in advance of the
Participant’s producing an offer to purchase, or (b) in the case of an Auction Listing, in advance of
the Participant’s registering a prospective bidder for participation in the Auction, provided, however,
that in either case the Service does not prohibit the Participants, the Seller, and the prospective
purchaser, following the production of an offer to purchase, from negotiating and agreeing upon some
compensation different from the compensation indicated on the Listing Filed with the Service; and (2)
the change in the listed compensation is not the result of any agreement between the Listing Broker
and any one or more of the other Participants or Subscribers. Any superseding offer of compensation
must be expressed in the same manner that the original offer of compensation was required to be
expressed under this Note 1.

If a Seller requests that a Listing Broker not offer cooperation with a specific Participant in
connection with the offering and sale of the Seller’s property, the Listing Broker may accede to the
Seller’s request, but only if the Listing Broker, prior to Filing the Listing, transmits to such identified
Participant a written notice of the Seller’s request.

A Listing Broker need not disclose the amount of total negotiated commissions in its Listing
Agreement, and the Service shall not publish the total negotiated commissions on a Listing that has
been Filed with the Service by a Participant. The Service shall not disclose the total commissions
negotiated between a Seller and a Listing Broker.

The total amount of any compensation offered to a Participant on a Listing Filed with the Service
shall be shown in the Listing, in the appropriate compensation data field, either as (1) a percentage of
the selling price of the Listed Property or (2) a definite dollar amount. If the total amount of any
compensation offered is shown as a percentage of the selling price of the Listed Property as permitted
by clause (1) (rather than as a definite dollar amount as permitted by clause (2)), the Listing Broker,
as authorized by the Seller, shall use as the “selling price” either (i) the full or gross selling price of
the Listed Property or (ii) the Net Sales Price as defined in Section 13.0 (the “Selling Price
Selection”). The Selling Price Selection shall be disclosed in the Property Data Form by a key, code
or symbol specified for the purpose by the Service. The total amount of any compensation shown in
the appropriate compensation data field shall set forth, without reference to any other data field, the
total amount to which a Cooperating Broker shall be entitled for its performance as the procuring
cause of the sale or lease of the Listed Property. Except only for the percentage calculation permitted
by clause (1) in the first sentence of this paragraph, compensation shown in a Listing Filed with the
Service shall be stated by the Listing Broker in such a way that it is not necessary for a Participant to
make any mathematical calculation or employ any formula in order to determine the compensation
offered.

Nothing set forth in this Section 5.0 or elsewhere in these Rules and Regulations shall prohibit a
Seller from offering Participants, for their services as Cooperating Brokers, something of value over
and above the compensation that may be offered hereunder. Like the underlying offer of
compensation that may be made pursuant to this Section 5.0, any such offer of additional
compensation shall not require or be conditioned on the Cooperating Broker’s taking or completing,
or its refraining from taking or completing, any specified actions, except only that entitlement to any
additional compensation that is offered shall be conditioned on the Cooperating Broker’s performance
as the procuring cause of the sale, lease or rental of the Listed Property to which the underlying offer
of compensation relates. If a Seller elects to make an offer of additional compensation, an accurate


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   description of the nature and terms of that offer shall be shown in the Listing in a data field other than
   the compensation data field.

   Note 2:      If the Seller elects to adjust (i) the compensation offered to all other Participants for their
   services as Cooperating Brokers with respect to any Listing and/or (ii) anything of value that may be
   offered to other Participants for such services in addition to the compensation, any such adjustment
   shall be effected by the Listing Broker’s Filing with the Service a notice of such adjusted
   compensation and/or other adjusted offering. The notice of adjustment shall be Filed with the Service
   in advance of the production of any offer to purchase the Listed Property so that all Participants and
   prospective purchasers can be advised of such adjustment or adjustments through the Service
   Compilation, provided, however, that the Service does not prohibit a Listing Broker, a Cooperating
   Broker, a Seller, and a prospective purchaser, following the production of an offer to purchase, from
   negotiating and agreeing upon some compensation different from the compensation indicated on the
   Listing Filed with the Service. The adjusted compensation and/or other adjusted offering shall be
   effective from and after the time at which the notice of adjustment is Filed with the Service.

   Note 3:      Excepting the authorization and disclosure requirements set forth in this Section 5.0 and
   the dispute-resolution provisions set forth in Section 7.2, the Service takes no position on the division
   of commissions between a Participant and any individual or entity that is not a Participant.

CHANGE #3: Attachment A, sanction for filing a listing without cooperation and compensation:

   [VIOLATION:] Filing a Listing for which it is not possible for the Listing Broker to offer or provide
   cooperation to Cooperating Brokers (Section 1.0(c)).

   [SANCTION:] $100 and removal of the Listing from the Service Compilation for the first violation;
   $250 and removal of the Listing from the Service Compilation for the second violation; $500 and
   removal of the Listing from the Service Compilation for the third violation; for each violation
   thereafter, suspension of not less than ten (10) days and removal of the Listing from the Service
   Compilation.

CHANGE #4: Section 7.2:

   SECTION 7.2 DISPUTES BETWEEN PARTICIPANTS AND/OR SUBSCRIBERS: If a
   dispute arises between or among any two or more Participants, Subscribers to and/or users of the
   goods and services provided by the Service, and if that dispute arises out of the use of those goods or
   services, then, unless the dispute relates solely to a violation of these Rules and Regulations or of any
   policies of the Service which could subject the disputing parties to a sanction by the Service
   hereunder, the disputing parties agree that (a) they shall diligently and in good faith seek to resolve
   the dispute amicably, but (b) if they are unable to do so within thirty (30) days after the first notice of
   dispute is given by one disputant to the other disputing party or parties, then the dispute shall be
   submitted for resolution as provided in the next three sentences, such submission to be made
   promptly at the end of such thirty day period, but in no event later than (1) the close of business on
   the second business day following the last day of the thirty day period or (2) if agreed by all the
   disputing parties, the close of business on an earlier or later date agreed upon by all of such parties. If
   each of the disputing parties is a “REALTOR®” (as defined from time to time by the National
   Association of REALTORS®), and if mandated by the rules, regulations or other requirements of the
   National Association of REALTORS®, or any affiliate thereof, to which the disputing parties are
   subject, the parties shall submit their dispute for resolution by binding arbitration to a tribunal that is
   maintained by any board or association of REALTORS® (a “REALTOR® Tribunal”) and that has

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   been chosen or otherwise determined in accordance with such rules, regulations or other
   requirements. If one or more of the disputing parties is a REALTOR® and one or more is not, the
   parties shall submit their dispute for resolution by binding arbitration either (i) to a REALTOR®
   Tribunal (which may include, without limitation, a REALTOR® Tribunal maintained by the
   Massachusetts Association of REALTORS®) (A) that is selected by the REALTOR® or
   REALTORS® that are party to the dispute and (B) that is willing to conduct the arbitration or (ii) if
   agreed to by all the disputing parties, to a tribunal of any kind acceptable to the disputing parties. If
   none of the disputing parties is a REALTOR®, the parties shall submit their dispute for resolution
   either (I) to a court with which one or more of the disputing parties has been the first to file a
   complaint relating to the dispute, provided that such court has jurisdiction over all of the disputing
   parties, or (II) if a complaint has not been filed with a court pursuant to clause (I), and if all the
   disputing parties agree, by binding arbitration to a tribunal of any kind acceptable to the disputing
   parties. The Service shall have no responsibility of any kind with respect to, nor shall the Service
   have, and none of the disputing parties shall assert or have the right to assert against the Service, any
   liability related to or arising out of the dispute or the mediation, arbitration or other resolution of the
   dispute. Notwithstanding the continuation of any such dispute, the parties to the dispute shall remain
   obligated to comply with these Rules and Regulations, with the policies of the Service and with all
   other conditions to their continued use of the goods and services provided by the Service.
   Throughout the continuation of any dispute, the parties to the dispute shall keep the Service informed
   in writing of the status of the dispute and of the terms and conditions of its settlement.

   Note 1: If a dispute arises between a Seller and one or more Participants involving entitlement to,
   and/or payment of, compensation offered pursuant to Section 5.0 in connection with a Listing, and if
   the Seller requests that the dispute be submitted for resolution via arbitration to a REALTOR®
   Tribunal that is willing to conduct the arbitration, the involved Participant(s) shall submit to the
   arbitration through the REALTOR® Tribunal and shall not submit the dispute for resolution to a
   court without the Seller’s agreement.

   If the Service at any time receives notice that two or more Participants or Subscribers claim to have
   entered into (or to have the right to enter into) separate Listing Agreements with a Seller for the same
   property, the Service will so advise each of the named Participants or Subscribers, and the matter
   shall be treated as a dispute between such Participants and/or Subscribers to be resolved in the
   manner provided in the first paragraph of this Section 7.2. The Service shall have no liability or
   responsibility of any kind with respect to the dispute, as provided in the first paragraph of this Section
   7.2. Notwithstanding the efforts of the parties to resolve the dispute, if the dispute has not been
   resolved within ten (10) days after the Service has advised the parties of the conflicting Listing
   Agreements, the Service, in its sole and absolute discretion, and in order to preserve the integrity of
   the data and information in the Service Compilation, may remove from the Service Compilation the
   Listings of the property which is in dispute. Simultaneously with such removal, the Service shall give
   notice of the removal to each of the disputing parties. The Service shall be under no obligation to
   reinstate the removed Listing to the Service Compilation unless and until each of the disputing parties
   has Filed a notice with the Service acknowledging that the dispute has been resolved and identifying
   the single Participant and/or Subscriber under whose name the property is to be entered into the
   Service Compilation as the Listing Broker.

CHANGE #5: Change Attachment A, REMOVE sanction for failure or refusal to pay undisputed
compensation.




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CHANGE #6: Section 10.4(b):

   (b) Nothing contained in this Section 10.4 or elsewhere in these Rules and Regulations is intended to
   grant, nor shall anything herein or therein be deemed to grant, to any Participant or Subscriber any
   right of access to or usage of any data, information or Image contained in any Service Compilation
   where grant of such rights or access to or usage of such data, information or Image is prohibited or
   not permitted by applicable law. Without limiting the foregoing, no Participant or Subscriber may
   filter, suppress, hide, or not display or distribute any data, information or Image contained in any
   Service Compilation based on (i) the level of compensation, if any, offered to Cooperating Brokers,
   or (ii) the name or other identifier of the Listing Broker or agent affiliated with the Listing Broker.

CHANGE #7: Attachment A, sanction for violating Section 10.4(b):

   [VIOLATION:] Violation of the prohibition against a Participant’s or Subscriber’s filtering,
   suppressing, hiding, or not displaying or distributing any data, information or Image contained in any
   Service Compilation based on (i) the level of compensation, if any, offered to Cooperating Brokers,
   or (ii) the name or other identifier of the Listing Broker or agent affiliated with the Listing Broker
   (Section 10.4(b)).

   [SANCTION:] A warning for the first violation; if the violation is not corrected by the end of the
   third calendar day after delivery of the warning, $1,000 and possible suspension of service until the
   violation is corrected. For each subsequent violation, $1,000 and possible suspension until the
   violation is corrected

CHANGE #8: Attachment A, sanction for displaying compensation in a non-compliant format:

   [VIOLATION:] Failure or refusal to show total compensation, if any, offered to a Cooperating
   Broker on a Listing in the manner or format required by Section 5.0 (Section 5.0).

   [SANCTION:] $250 for the first violation; $500 for the second violation; $1,000 for the third
   violation; and suspension of not less than ten (10) days for each violation thereafter. For each
   violation, beginning with the first, and in addition to the above sanctions, the violation will result in
   removal of the Listing from the Service Compilation.

CHANGE #9: Attachment A, new sanction for a Listing Broker’s failure or refusal to comply with the
notification, authorization, and certification requirements of Section 1.0(c):

   [VIOLATION:] Failure or refusal, by a Listing Broker or its agent, to comply with either (i) the
   notification and certification requirements set forth in the second paragraph of Section 1.0(c), or (ii)
   the authorization requirements set forth in the first paragraph of Note 1 of Section 5.0, with regard to
   any existing or proposed Listing.

   [SANCTION:] A written warning for the first violation; $500 and removal of the Listing from the
   Service Compilation for the second violation; $1000 and removal of the Listing from the Service
   Compilation for the third violation; for each violation thereafter, suspension of not less than ten (10)
   days and removal of the Listing from the Service Compilation.

CHANGE #10: Section 13.0, excerpted definitions of Listing Agreement and Participant:


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   Listing Agreement - Shall mean a signed written agreement between a Seller and a broker which
   constitutes either an Exclusive Agency, an Exclusive Right To Sell, an Exclusive Right to Sell at
   Auction, an Exclusive Right To Sell With Dual Rate of Commission, an Exclusive Right To Sell
   With Named Exclusion, an Exclusive Right To Sell With Variable Rate Of Commission, a
   Facilitation/Exclusive, a Facilitation/Exclusive Right To Sell Listing, a Facilitation/Exclusive Right
   To Sell With Dual Rate of Commission, a Facilitation/Exclusive Right To Sell With Named
   Exclusion, a Facilitation/Exclusive Right To Sell With Variable Rate Of Commission or an Exclusive
   Right to Rent. A Listing Agreement must include (i) the Seller’s written authorization to the Listing
   Broker to submit the Listing Agreement to the Service and to File the Listing at such time and upon
   satisfaction of such conditions as shall be specified therein; (ii) all of the required notifications
   specified in the second paragraph of Section 1.0(c) of these Rules and Regulations; and (iii) if the
   Seller elects to offer compensation to Cooperating Brokers, the Seller’s written acknowledgment that
   the Cooperating Broker is an intended third-party beneficiary of the Listing Agreement with the right
   to enforce the same.

   …

   Participant - Shall mean, as the context requires, (i) any individual or sole proprietorship and any
   partnership, corporation, limited liability company or other legal entity which Participates in the
   Service (sometimes referred to herein as a “Participant Firm”) and/or (ii) the individual who is
   designated by a Participant Firm to be the individual with the responsibility of the Participant under
   these Rules and Regulations (sometimes referred to herein as an “Individual Participant”). For
   purposes of qualifying for Participation in the Service, the proposed Participant Firm and the
   proposed Individual Participant shall be required to satisfy the applicable eligibility requirements
   stated in the definition of “Participation” below. Upon admission of a Participant Firm to
   Participation in the Service, an Individual Participant has and may exercise all of the rights, benefits
   and privileges of Participation in the Service in the name and on behalf of the Participant Firm with
   which the Individual Participant is affiliated. Any such Individual Participant shall be responsible for
   compliance with all of the liabilities and obligations to the Service by the Participant Firm with which
   the Individual Participant is affiliated, including compliance with these Rules and Regulations and
   with the policies of the Service by all of the Subscribers and other persons affiliated with the
   Participant Firm. Under no circumstances is any individual or entity entitled to be a Participant or to
   Participate in the Service unless (a) the individual or entity holds a current, valid real estate broker’s
   license issued by one or more of the Subscription States and has all necessary power and authority to
   offer and accept cooperation to and from other Participants, (b) the individual holds a current, valid
   license or certificate issued by an appropriate state regulatory agency or authority of any one or more
   of the Subscription States to engage in the appraisal of real property or (c) the entity (I) employs or
   otherwise engages the services of licensed or certified appraisers one or more of whom are
   Participants and (II) meets the applicable standards set forth in the definition of Participation in this
   Section 13.0.

CHANGE #11: Rename Article V:

   ARTICLE V - DISCLOSING COMPENSATION AND CONFLICTS OF INTEREST




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